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                           IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF THE SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION


                                                         Civil Case No. 9:21cv81099
   D.P. by and through his next friend P.S.; P.S.
   in her individual capacity; E.S., by and
   through his next friend J.S.; J.S. in her
   individual capacity; W.B. by and through his
   next friend L.H.; L.H. in her individual              SECOND AMENDED COMPLAINT
   capacity; M.S. by and through her next friends
   S.S. and R.S.; S.S. and R.S. in their individual      DEMAND FOR JURY TRIAL
   capacities; and DISABILITY RIGHTS
   FLORIDA,                                              Complaint Filed: June 22, 2021

                   Plaintiffs,                           Judge: Hon. Aileen Cannon


          vs.

   SCHOOL BOARD OF PALM BEACH
   COUNTY,

                   Defendant.




                                            INTRODUCTION

             1.       This case is about a school district that believes it has the right to overrule

     parents and force their children to get psychiatric treatment, even when that treatment is

     unnecessary and results in trauma, humiliation, and the violation of the constitutional rights of

     children and their parents. Plaintiffs D.P., E.S., W.B., and M.S. are just a few of the hundreds




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     of students that police working for the School District of Palm Beach County (“SDPBC”)

     removed from their classrooms, handcuffed, and drove away to locked facilities in the back of

     police cars in the 2018 through 2021 school years. The four child Plaintiffs are joined in this

     lawsuit by their guardians, who wanted to but were denied the right to decide whether and

     how their children received psychiatric treatment, and by Disability Rights Florida, which

     represents the interests of children with disabilities in SDPBC. All Plaintiffs brought this suit

     to prevent the same thing from happening to other children in SDPBC in the future.

            2.      Although D.P., E.S., W.B., M.S., and hundreds of other children like them

     were treated like criminals, they were not charged with a crime. Instead, school police decided

     these children, who were as young as five years old, were dangerous and took them to a

     psychiatric facility for involuntary psychiatric examination. Though police officers working

     for SDPBC had limited or no mental health training, they subjected these children to

     involuntary psychiatric examination, pursuant to the Florida Mental Health Act, Fla. Stat. §§

     394.451-.47892, known as the Baker Act. This decision was and is often made without

     parents’ input, consent, or prior knowledge, and even over their strenuous objections.

            3.      The overwhelming majority of these children did not need or benefit from

     involuntary examination and were deeply traumatized by the experience. Once sent for an

     examination, children wait hours or days in a psychiatric facility, also known as a “receiving

     facility,” without their parents, for an examination by a clinician. The Baker Act permits them

     to be held for up to 12 hours, including overnight, before this examination even begins. The

     receiving facility has up to 72 hours to complete this examination, after which the facility

     must either release the child or seek a court hearing for longer-term detention.

            4.      Under the Baker Act, courts, medical professionals, and law enforcement

     officers may initiate an involuntary psychiatric examination of a person in specific

     circumstances, including when there is reason to believe that (a) the person has a mental

     illness and (b) because of that mental illness, they pose an imminent danger to themselves or




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     others. The practice is so common that it has become a verb: a person detained for involuntary

     examination is often referred to as having been “Baker Acted.”

             5.      SDPBC used the Baker Act to initiate at least 1,216 involuntary examinations

     of its students in the 2016-2020 school years, including 252 times on elementary school

     students. SDPBC seized Black children for involuntary examination at twice the rate of white

     children, a disparity that worsens for young children: 40 of 59 children under age eight

     examined under the Baker Act in that period were Black.

             6.      SDPBC has taken children for involuntary examination over their parents’

     pleas to be allowed to bring their children home and parents’ assurances that they will protect

     their children from harm. It has seized children who did not meet the statutory criteria for

     involuntary psychiatric examination, such as children manifesting behaviors of developmental

     disabilities that are specifically excluded from the statute’s definition of mental illness. It has

     subjected children to the Baker Act without consulting its own mental health professionals,

     and after overruling the judgments of those professionals. It has even initiated examinations

     on children for normal, childish misbehavior; for example, it initiated an examination on a

     nine-year-old child for being a supposed “threat” to others because he allegedly wanted to

     “stab” another child with a plastic fork. This overuse and misuse of the Baker Act by SDPBC

     is unjustifiable.

             7.      Despite being aware of its inappropriate use of the Baker Act for years,

     SDPBC did little to eliminate unnecessary Baker Act use or train its personnel or contractors

     on alternatives. Its Baker Act policies at the time of Plaintiffs’ examinations, as well as its

     meager police training materials, were full of omissions and inaccuracies about the statute’s

     requirements, including that mental illness was not a requirement for Baker Act use and that

     officers did not need probable cause to believe a child met the Baker Act criteria before

     initiating an examination. Officers were provided little guidance about when initiating an

     involuntary examination of a child is appropriate and were trained that handcuffing of even

     compliant and calm children was required when a child was transported for an involuntary



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     examination under the Baker Act. They also did nothing to explain to staff that use of the

     Baker Act in non-emergency situations is far more likely to traumatize children than to help

     them. These inaccurate and illegal policies were adopted by final policymakers in SDPBC.

            8.      SDPBC also failed to take basic affirmative steps that could eliminate unlawful

     Baker Act use, like reviewing uses of the Baker Act after the fact to determine if they were

     lawful, tracking and monitoring the data it already possessed about Baker Act use, and

     intervening when schools or employees used it disproportionately often. It also unlawfully

     failed to allow parents, who have the best knowledge of and a constitutionally protected right

     to make decisions regarding their children’s mental health, to decide if involuntary psychiatric

     hospitalization is appropriate. Finally, it failed to use the numerous mental health

     professionals it employed to make determinations regarding use of involuntary examination,

     instead entrusting those decisions to police without mental health expertise.

            9.      SDPBC’s failures continue to this day. District staff, including mental health

     professionals and police specifically tasked with making Baker Act decisions, do not know

     the statutory criteria. For example, they are unaware that an involuntary examination can only

     be initiated for behavior that is due to mental illness, and cannot be initiated for behavior that

     is due to a developmental disability such as Autism, which the Baker Act specifically states is

     not a mental illness. District policy, practice, and training still do not provide parents the

     ability to refuse consent to an involuntary examination for their children, even when there is

     no true emergency and no reason to suspect parents are not acting in their children’s best

     interests. There are still no after-action meetings where staff involved in a Baker Act decision

     determine if it was necessary or preventable. SDPBC’s Police Department policy still

     inaccurately states that use of the Baker Act does not require probable cause. Police officers

     still believe handcuffing is required for involuntary examinations and children are still

     transported for involuntary examination in handcuffs in marked police cars by uniformed

     officers, despite SDPBC staff being aware that this is unnecessarily traumatic.




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               10.     Plaintiffs bring this suit to end SDPBC’s harmful and illegal use of the Baker

        Act. They seek damages for harm to the individual Plaintiffs and injunctive relief to prevent

        future harm to all Plaintiffs and their members and constituents.

                                      JURISDICTION AND VENUE

               11.     This action arises under 42 U.S.C. § 1983, 42 U.S.C. § 12132, the Americans

        with Disabilities Act, and 29 U.S.C. § 794, § 504 of the Rehabilitation Act. This Court has

        subject-matter jurisdiction pursuant to 28 U.S.C. § 1331.

               12.     This Court has the authority to issue declaratory relief, injunctive relief, and

        other relief pursuant to the federal Declaratory Judgment Act, 28 U.S.C. §§ 2101–2102.

               13.     Venue is proper in this Court because Plaintiffs and Defendant reside in this

        district and the events giving rise to this action occurred in this district. See 28 U.S.C. §

        1391(b)-(c).

                                                THE PARTIES

   I.       PLAINTIFFS

               14.     Plaintiff D.P. is a Black student enrolled in the School District of Palm Beach

        County. He was nine years old at the time of involuntary examination in 2018. He is a student

        with a disability and qualifies for Exceptional Student Education (“ESE”) under the

        exceptionalities of Developmentally Delayed, Speech Impaired, Language Impaired, Specific

        Learning Disability, and Autism Spectrum Disorder (“ASD”).

               15.     Plaintiff P.S.1 is D.P.’s grandmother and guardian. She brings this suit as next

        friend to D.P. and on her own behalf.

               16.     Plaintiff E.S. is a white student who was formerly enrolled in the School

        District of Palm Beach County. He was nine years old at the time of his involuntary


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     Plaintiffs use the true initials of the guardians of the four minor child plaintiffs in place of their
   true names to protect the identities of the minors, with permission of the Court. See Order of
   June 21, 2021, ECF No. 13.


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     examination in 2019. He is a student with a disability and qualifies for ESE under the

     exceptionality of Other Health Impaired (“OHI”) with known medical diagnoses of Attention

     Deficit Hyperactivity Disorder, ASD, and Specific Learning Disability with Reading

     Dyslexia.

            17.     Plaintiff J.S. is E.S.’s mother. She brings this suit as next friend to E.S. and on

     her own behalf.

            18.     Plaintiff W.B. is a Black student enrolled in the School District of Palm Beach
     County. He was ten years old at the time of his involuntary examination in 2021. He is a

     student with a disability and qualifies for Exceptional Student Education (“ESE”) with the

     exceptionality of Emotional Behavioral Disability.

            19.     Plaintiff L.H. is W.B.’s mother. She brings this suit as next friend to W.B. and

     on her own behalf.

            20.     Plaintiff M.S. is a biracial student enrolled in the School District of Palm

     Beach County. She was eleven years old at the time of her involuntary examination. She is a

     student with a disability of Post-Traumatic Stress Disorder (“PTSD”).

            21.     Plaintiff S.S. is M.S.’s mother. Plaintiff R.S. is M.S.’s father. They bring this

     suit as next friends to M.S.

            22.     Plaintiff Disability Rights Florida (“DRF”) is an independent, non-profit

     corporation organized under the laws of the State of Florida and its primary office is in

     Tallahassee, FL.

            23.     DRF is Florida’s Protection and Advocacy system, as that term is defined

     under the Developmental Disabilities Assistance and Bill of Rights Act (“DD Act”), 42

     U.S.C. § 15041 et seq., the Protection and Advocacy Protection for Individuals with Mental

     Illness Act of 1986 (“PAIMI Act”), 42 U.S.C. § 10801 et seq., and the Protection and

     Advocacy of Individual Rights Act (“PAIR Act”), 29 U.S.C. § 794e et seq., with offices in the

     State of Florida located at: 2473 Care Drive, Suite 200, Tallahassee, FL 32308; 4723 NW 53rd



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     Ave, Suite B, Gainesville, FL 32653; 1000 North Ashley Drive, Suite 640, Tampa, FL 33602;

     and 1930 Harrison Street, Suite 104, Hollywood, FL 33020.

             24.     As Florida’s Protection and Advocacy system, DRF is specifically authorized

     to pursue legal, administrative, and other appropriate remedies or approaches to ensure the

     protection of, and advocacy for, the rights of individuals with disabilities. 42 U.S.C. §

     15043(a)(2)(A)(i). DRF’s constituents consist of all individuals residing in Florida who have

     been diagnosed with a disability, have a disability which has not yet been diagnosed, or are

     perceived as or regarded as having a disability. The term “disability” includes physical and

     mental impairments that substantially limit one or more major life activities. 42 U.S.C.

     § 12102(2).

             25.     One of DRF’s primary responsibilities is to investigate public entities who fail

     to comply with the Americans with Disabilities Act (“ADA”) and Section 504 of the

     Rehabilitation Act of 1973 (“Section 504”) in order to protect DRF’s clients and constituents.

             26.     Individuals with physical and mental impairments—among DRF’s

     constituents—are on DRF’s board of directors. DRF represents people with physical and

     mental impairments and provides the means by which they express their collective views and

     protect their collective interests.

             27.     Pursuant to the authority vested in it by the United States Congress to file

     claims of abuse, neglect, and rights violations on behalf of individuals with disabilities, DRF

     brings claims on behalf of its constituents, including the individuals named herein as Plaintiffs

     as well as all constituents and clients who attend or attended school in SDPBC who have been

     subject to involuntary examination or are at risk of involuntary examination. DRF’s

     constituents and clients include those students who are identified as individuals with

     disabilities or are suspected of having a disability. DRF represents students with disabilities or

     suspected of having a disability within the School District of Palm Beach County.

             28.     DRF has standing on behalf of its constituents and clients who are substantially

     affected by SDPBC’s inappropriate use of involuntary examination as stated in this Second



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         Amended Complaint because the use of the Baker Act falls within DRF’s general scope of

         interest and activity; the relief requested—declaratory and injunctive—is the type of relief

         appropriate for DRF to receive on behalf of its individual constituents; and neither the claims

         asserted nor the relief requested require the participation of individual members or

         constituents in the lawsuit.

                29.     DRF’s constituents have suffered—and continue to suffer—injury that would

         allow them to have standing to sue in their own right. The interests DRF seeks to protect are

         germane to DRF’s purpose.

                30.     The number of children at risk of being harmed by Defendant School Board of

         Palm Beach County’s deficiencies far exceed what can be contemplated in the Second

         Amended Complaint and a remedy at law, alone, will not prevent this harm. Without

         injunctive relief, DRF’s clients and constituents will continue to be harmed by SDPBC’s

         inappropriate use of involuntary examination.

   II.       DEFENDANT

                31.     Defendant School Board of Palm Beach County (“School Board”) is the board

         of education governing SDPBC, the public-school system for all of Palm Beach County.

                32.     The School Board has the power to issue policies directing the implementation

         of the Baker Act in SDPBC schools.

                33.     The School Board is not entitled to sovereign immunity under the Eleventh

         Amendment. Travelers Indem. Co. v. Sch. Bd. of Dade Cnty., Fla., 666 F.2d 505, 509 (11th

         Cir. 1982).

                34.     The School Board and SDPBC employ school police officers through the

         SDPBC Police Department.

                35.     The SDPBC Police Department is supervised by the School Board and

         SDPBC’s superintendent.

                36.     The School Board and SDPBC have also entered Security Agreements with

         other police departments to contract officers to be stationed at and work in its schools.



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                                       FACTUAL ALLEGATIONS

       I.   THE BAKER ACT

               37.     Florida, like all states, has a statutory process for the involuntary psychiatric

       hospitalization of people who pose a danger to themselves or others. However, Florida uses

       this procedure against children, particularly children in schools, at a scale unknown in any

       other state.

               38.     Statewide, in 2020-2021, the most recent reporting year, Florida children were

       examined under the Baker Act 38,557 times.

               39.     The Baker Act states the same criteria for involuntary examination of youth as

       it does for adults:

            (1) CRITERIA.—A person may be taken to a receiving facility for involuntary
            examination if there is reason to believe that the person has a mental illness and
            because of his or her mental illness:
            (a)1. The person has refused voluntary examination after conscientious
            explanation and disclosure of the purpose of the examination; or
            2. The person is unable to determine for himself or herself whether examination is
            necessary; and
            (b)1. Without care or treatment, the person is likely to suffer from neglect or
            refuse to care for himself or herself; such neglect or refusal poses a real and
            present threat of substantial harm to his or her well-being; and it is not apparent
            that such harm may be avoided through the help of willing family members or
            friends or the provision of other services; or
            2. There is a substantial likelihood that without care or treatment the person will
            cause serious bodily harm to himself or herself or others in the near future, as
            evidenced by recent behavior.

   Fla. Stat. § 394.463(1).

               40.     While courts and some medical and mental health professionals are also

       authorized by the Baker Act to initiate involuntary examinations, police officers initiate the

       vast majority of examinations that begin while a child is in school.2 SDPBC employs its own


   2
    Initiation by a police officer provides the fewest procedural protections under the statute. When
   the court initiates an involuntary examination, it must “enter an ex parte order stating that a
   person appears to meet the criteria for involuntary examination and specifying the findings on
   which that conclusion is based,” and the order “must be based on written or oral sworn testimony



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      police officers through the Palm Beach County School District Police Department. It has in

      the past contracted with other police departments for school policing.

                41.   During the time the child plaintiffs were sent for involuntary examination,

      nearly every involuntary examination originating in a SDPBC school was initiated by an

      officer of the SDPBC Police Department or an officer contracted by SDPBC to be stationed at

      a school campus.

                42.   SDPBC has, from before 2018 through the present, had access to “mobile

      response teams,” also known as “mobile crisis units,” a community-based resource intended

      to be used to assess and deescalate crisis situations and to support police officers. Beginning

      in 2018, SDPBC also developed its own in-house “Crisis Assessment, Prevention, Education

      and Support Team,” known as the CAPE team. During the period when the individual

      Plaintiffs were involuntarily examined, however, neither police officers nor school officials

      were required to contact or follow the recommendations of the mobile response or CAPE

      teams.3



   that includes specific facts that support the findings.” Fla. Stat. § 394.463(2)(a)1. When a
   medical or mental health professional initiates an involuntary examination, they must “execute a
   certificate stating that he or she has examined a person within the preceding 48 hours and finds
   that the person appears to meet the criteria for involuntary examination and stating the
   observations upon which that conclusion is based.” Fla. Stat. § 394.463(2)(a)1. In both cases, a
   police officer will then take the person into custody and transfer them to a receiving facility only
   if “other less restrictive means, such as voluntary appearance for outpatient evaluation, are not
   available.” Fla. Stat. § 394.463(2)(a)3. In contrast, for a police officer to initiate an involuntary
   examination, the only statutory requirement is to “execute a written report detailing the
   circumstances under which the person was taken into custody.” Fla. Stat. § 394.463(2)(a)2.
   3
     Recognizing that schools should contact parents, utilize mobile response teams, and attempt to
   deescalate children before relying on the Baker Act, in 2021 the Florida legislature passed and
   Governor DeSantis signed SB 590, a bill making some changes to how the Baker Act is used in
   schools. SB 590 requires principals to make a “reasonable attempt” to contact a parent before a
   child is removed from school for involuntary examination, in most cases, but it does not require
   the school to wait for the parent to arrive, require the parent’s consent to involuntary
   examination, or require the school to allow the parent to attempt de-escalation or to transport the
   child to the receiving facility themselves. SB 590 also requires the principal to verify that “de-
   escalation strategies have been utilized and outreach to a mobile response team has been
   initiated” before contacting law enforcement—unless he “reasonably believes that any delay in



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              43.     In practice, because children are not expected to care for themselves, police in

      SDPBC schools generally rely on section (b)2 of the Baker Act when initiating an involuntary

      examination of a child. Under this provision, the Baker Act is appropriate and legal only when

      “there is reason to believe that the person has a mental illness and because of his or her

      mental illness . . . [t]here is a substantial likelihood that without care or treatment the person

      will cause serious bodily harm to himself or herself or others in the near future, as evidenced

      by recent behavior.” Fla. Stat. § 394.463(1) (emphasis added).

              44.     The definition of mental illness under the Baker Act explicitly excludes

      developmental disabilities. Fla. Stat. § 394.455(29). Involuntary commitment of people with

      developmental disabilities, including ASD, is addressed by a different statute, Fla. Stat. §

      393.11, which only allows involuntary confinement after a hearing at which the person is

      represented by counsel.

              45.     “Serious bodily harm” is “[s]erious physical impairment of the human body;

      esp., bodily injury that creates a substantial risk of death or that causes serious, permanent

      disfigurement or protracted loss or impairment of the function of any body part or organ.”

      Black’s Law Dictionary (11th ed. 2019).

              46.     The Baker Act also includes a section specifically enumerating the rights of

      persons seized under the authority of the Baker Act, referred to as “patients.” Fla. Stat. §

      394.459. “The right to individual dignity” is the very first right set forth. Fla. Stat. §

      394.459(1). This provision prohibits the use of “restraining devices utilized for criminals or




   removing the student will increase the likelihood of harm to the student or others.” Similarly, SB
   590 requires that school or law enforcement make a “reasonable attempt” to contact a mental
   health professional who could initiate voluntary examination “unless the child poses an imminent
   danger to themselves or others”—the very criteria that is already used to justify contacting law
   enforcement to initiate use of the Baker Act. By its terms, the Baker Act is only appropriate
   when there is a “substantial likelihood . . . the person will cause serious bodily harm to himself
   or herself or others in the near future.” As such, these exceptions are so broad that they swallow
   the new rules.


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        those accused of a crime,” such as handcuffs, except when necessary to protect the person

        subject to involuntary examination or others. Id.

       II.   UNNECESSARY INVOLUNTARY PSYCHIATRIC HOSPITALIZATION IS DEEPLY HARMFUL
             TO CHILDREN AND THEIR FAMILIES

               47.     The unnecessary use of involuntary examination through the Baker Act puts

        children and their families at significant risk of long-term and serious psychological harm. As

        a result of being subjected to involuntary examination under the Baker Act, children may

        experience new or exacerbated post-traumatic stress, general anxiety, separation anxiety,

        depression, humiliation, and emotional withdrawal.

               48.       Being subjected to unnecessary involuntary examination through the Baker

        Act risks significant harm to children in multiple ways. Children experience harm from the

        actions of school police in restraining them with handcuffs and/or hobble restraints, removing

        them from school, and transporting them to a Baker Act receiving facility. Children

        experience harm from being removed from their families. Children experience harm from

        being subjected to the unnecessarily restrictive environment of the receiving facility.

        Moreover, children experience harm from lost instructional time and a loss of school

        connectedness.

               49.     Children who have been handcuffed or placed in hobble restraints—forms of

        mechanical restraints—put in the back of a police car, and taken to a psychiatric hospital are
        understandably and virtually inevitably traumatized by the experience.4 The use of restraints,

        including mechanical restraints, has been found to subject children, especially children with




   4
     See Statement of Interest of the United States, S.R. et al. v. Kenton County et al., no. 15-cv-
   00143-WOB-JGW (2015), ECF no. 32 (Collecting cases for the proposition that “[h]andcuffing a
   young child, particularly a child with a disability, constitutes an extraordinary intrusion” and
   “[s]uch interactions are fraught with the potential for lasting trauma and damage.”) (observing
   that children with mental health and other disorders are at especially high risk for death or
   serious injury from the use of restraints).


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       disabilities, to a high risk of harm.5 Compared to children who are not handcuffed during an

       encounter with police, children who are handcuffed by police report significantly higher

       emotional distress during the interaction and social stigma and post-traumatic stress

       afterwards.

              50.     This trauma is compounded when children arrive at a receiving facility, where

       they must wait hours or days for examination in a locked jail-like facility—indeed, some

       children refer to their time in Baker Act facilities as when they were “in jail.” In this

       unfamiliar place, they often spend a night or more away from their parents for the first time in

       their lives. Sometimes they are not even allowed to talk to their parents for days, and in-

       person visitations are regularly limited to once a week.

              51.     The conditions within psychiatric facilities have been found to traumatize

       individuals. In one of the most comprehensive studies of experiences in psychiatric facilities,

       researchers found that patients experienced physical assault and sexual assault at high rates in

       mental health facilities, and most witness traumatic events while there.6 Other studies have

       similarly found that the majority of individuals in mental health facilities experience trauma

       victimization and that almost half suffer from post-traumatic stress disorder as a result of their

       experiences in the psychiatric facility itself.7 These experiences can be especially damaging or

       retraumatizing for patients in psychiatric facilities who may already be vulnerable or have

       experienced past trauma.8



   5
     See General Accounting Office, Improper Restraint or Seclusion Use Places People at Risk,
   (Sept. 1999), https://www.gao.gov/products/hehs-99-176; U.S. Department of Educ., Restraint
   and Seclusion: Resource Document, at 12 (May 2012),
   http://www.ed.gov/policy/seclusion/restraints-and-seclusion-resources.pdf (recommending that
   “[s]chools should never use mechanical restraints to restrict a child’s freedom of movement”).
   6
     See B. Christopher Frueh, et al., Special Section on Seclusion and Restraint: Patients’ Reports
   of Traumatic or Harmful Experiences Within the Psychiatric Setting, 56 Psychiatric Services
   1123-1133 (2005), https://ps.psychiatryonline. org/doi/pdfplus/10.1176/appi.ps.56.9.1123.
   7
     See Karen J. Cusack, et al., Trauma Within the Psychiatric Setting: A Preliminary Empirical
   Report, 30 Administration and Policy in Mental Health 453-460 (2003).
   8
     See Frueh et al., n. 8 above.


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              52.     Childhood traumatic stress can have significant and lasting effects on a child’s

       development. It can impact a child’s physical and mental development, make it more difficult

       to learn and focus, and impact a child’s way of thinking about the world around them and

       their own future.9

              53.     Receiving facilities are not equipped to provide treatment for ongoing

       psychiatric conditions. Involuntary examination is intended only to provide emergency

       stabilization of people in genuine psychiatric crises that pose a risk to themselves or others

       and to determine if longer-term institutionalization is necessary for that same purpose. Even if

       a child has a serious mental illness that is not responding to existing treatment, involuntary

       examination is not beneficial unless it serves these goals. Indeed, facilities often provide little

       or no therapy and are often unable to administer to children medications they need and have

       already been prescribed.

              54.     Research on children subjected to involuntary examination has shown that

       children learn from the experience that if they are open with adults about their thoughts and

       emotions, including normal feelings of sadness, they will be punished and taken away from

       their parents.10 This lesson makes it less likely that children will be willing to engage in future

       mental health treatment or counseling, or that children will be honest about any true mental

       health concerns.11

              55.     The use of the Baker Act also results in missed school time. This includes the

       time that the child is transported by the police officer to the receiving facility and held at the

       receiving facility pending involuntary examination. It may also include time that the child

       must spend out of school dealing with the aftereffects of the Baker Act. Parents and children


   9
     See The National Child Traumatic Stress Network, What is Child Traumatic Stress?, (2003),
   https://www.samhsa.gov/sites/default/files/programs_campaigns/childrens_mental_health/what-
   is-child-traumatic-stress.pdf.
   10
      See Jones, N., Gius, B.K., Shields, M. et al., Investigating the impact of involuntary
   psychiatric hospitalization on youth and young adult trust and help-seeking in pathways to care,
   Soc Psychiatry & Psychiatric Epidemiol (2021).
   11
      Id.


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        may be understandably reluctant to return the child to school given their memories of the

        traumatic Baker Act experience and when facing the possibility of another involuntary

        examination, resulting in further delays. Instructional time is critical to student achievement,12

        and this educational disruption can ultimately result in school transfer, lower grades,13

        dropped classes, and/or being placed on a lower academic track.

               56.     The unnecessary use of involuntary examination under the Baker Act also risks

        harm to students’ school connectedness—students’ belief that adults within the school care

        about them and their educational progress.14 That sense of connectedness is critical to protect

        against a number of risk factors for poor academic and life outcomes. School connectedness

        functions as a critical factor in supporting academic achievement for economically

        disadvantaged students and also protects against health risks that reduce students’ focus on

        academics and achievement.15 Students with high degrees of school connectedness are less




   12
      See M. Karega Rausch & Russell J. Skiba, The Academic Cost of Discipline: The Relationship
   Between Suspension/Expulsion and School Achievement 6 (2006),
   http://www.agi.harvard.edu/Search/download.php?id=45.
   13
      See Aaron Kupchik, Things are Tough All Over: Race, Ethnicity, Class and School Discipline,
   11 Punishment & Society 291, 307, (2009), http://www.suspensionstories.com/wp-
   content/uploads/2010/10/things-are-tough-all-over.pdf (finding that lost instructional time served
   to aggravate students’ academic deficits because they fell further behind their classmates).
   14
      See Centers for Disease Control and Prevention, School Connectedness: Strategies for
   Increasing Protective Factors Among Youth 3 (2009),
   http://www.cdc.gov/healthyyouth/adolescenthealth/pdf/connectedness.pdf.
   15
      See Bronwyn E. Becker & Suniya S. Luthar, Social-Emotional Factors Affecting Achievement
   Outcomes Among Disadvantaged Students: Closing the Achievement Gap, 37 Educ. Psychologist
   197-214 (2002), http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3523355/; Dorian Wilson, The
   Interface of School Climate and School Connectedness and Relationships with Aggression and
   Victimization, 74 Journal of School Health 293, 298 (2004), available at
   http://www.jhsph.edu/departments/population-family-and-reproductive-
   health/_archive/wingspread/Septemberissue.pdf.


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        likely to attempt suicide16 or engage in violent behavior.17 For students to feel connected to a

        school community, they must perceive school authorities to be caring and fair.18 A school’s

        unnecessary reliance on school police undermines this perception:19 negative interaction with

        school police has been found to damage students’ views of teachers’ authority.20

               57.     Parents also experience harm from witnessing their children go through the

        traumatic involuntary examination process. Parents are at risk for direct trauma due to the

        removal of their children from their care and custody and are also at risk for secondary trauma

        as they help their children deal with the trauma they have experienced from the involuntary

        examination.




   16
      See CDC, School Connectedness, n. 15, above; Bronwyn E. Becker & Suniya S. Luthar,
   Social-Emotional Factors Affecting Achievement Outcomes Among Disadvantaged Students:
   Closing the Achievement Gap, 37 Educ. Psychologist 197-214 (2002),
   http://www.ncbi.nlm.nih.gov/pmc/articles/PMC3523355/; Dorian Wilson, The Interface of
   School Climate and School Connectedness and Relationships with Aggression and Victimization,
   74 Journal of School Health 293, 298 (2004), http://www.jhsph.edu/departments/population-
   family-and-reproductive- health/_archive/wingspread/Septemberissue.pdf.
   17
      See id.; see also Richard F. Catalano et al., The Importance of Bonding to School for Healthy
   Development: Findings from the Social Development Research Group, 74 Journal of School
   Health 252, 256, 259 (2004),
   http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.464.4284&rep=rep1&type=pdf.
   18
      See Jaana Juvonen, RAND, School Violence: Prevalence, Fears and Prevention, 3 (2001),
   http://www.rand.org/pubs/issue_papers/IP219.html (concluding that the presence of police on
   campus can “breed a sense of mistrust among students”); Adena M. Klem & James P. Connell,
   Relationships Matter: Linking Teacher Support to Student Engagement and Achievement, 74 J.
   of Sch. Health 262, 266 (2004),
   http://www.fifeschools.com/fhs/documents/RelationshipsMatterLinkingTeacherSupporttoStuden
   tEngagementandAc hievement.pdf; Catalano et al., n. 17, above.
   19
      Juvonen, n. 19 above.
   20
      See Arrick Jackson, Police-school Resource Officers’ and Students’ Perception of the Police
   and Offending, 25 Policing: Int’l J. Police Strategies & Mgmt. 631, 634 (2002) (finding that
   officers’ presence on school campuses posed obstacles for free and open learning environments
   by damaging students’ view of teachers’ authority); Matthew J. Meyer & Peter E. Leone, A
   Structural Analysis of School Violence and Disruption: Implications for Creating Safer Schools,
   22 Education and Treatment of Children 333, 349 (1999) (creating a highly scrutinized school
   environment may result in higher levels of disorder),
   http://www.popcenter.org/problems/bomb_threats/pdfs/mayer%26leone_ 1999.pdf.


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    III.   SDPBC ILLEGALLY INITIATED INVOLUNTARY EXAMINATIONS OF SCHOOLCHILDREN

               A. D.P.

              58.     D.P. was nine years old and in third grade when Officer Joseph M. Margolis,

      Jr. seized him for involuntary examination after he became upset. According to the officer’s

      report, the incident began when D.P. threw stuffed animals around the classroom.

              59.     D.P. was eligible for ESE with exceptionalities of ASD and Language

      Impaired. D.P. also has a medical diagnosis of ADHD, of which the school had been

      informed.

              60.     SDPBC has been aware of D.P.’s disabilities since at least 2013, when SDPBC

      identified D.P. as a child with disabilities through the district’s Child Find program for

      preschool aged children. During his third-grade year, the 2018-2019 school year, he was

      placed in an ASD classroom.

              61.     D.P. lives with P.S., his grandmother, who is his legal guardian.

              62.     D.P. had targeted case management services in the community. SDPBC staff

      were aware of these services.

              63.     On multiple occasions in the 2018-2019 school year, D.P. was restrained in the

      ASD classroom. After at least one incident, school staff documented rug burns on D.P.’s head

      as a result of a restraint.

              64.     On October 22, 2018, P.S. met with school staff and expressed concern over

      D.P. getting upset in the classroom and the school’s use of prone restraints on D.P., including

      the rug burns on D.P.’s face as a result of the restraints.

              65.     On November 6, 2018, P.S. informed school staff that D.P. had a death in the

      family, that P.S. would be away for a few days, and that D.P. might be struggling as a result of

      the circumstances.

              66.     According to Officer Margolis’ report, on November 8, 2018, while in his ASD

      classroom, D.P. became upset and threw stuffed animals.




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             67.     D.P. said he was upset because his teacher told him he could not use the

      computer.

             68.     There were multiple strategies that had proved effective to deescalate D.P. in

      the past and were known to SDPBC staff. For example, when he was upset on a prior

      occasion, a teacher let him leave his classroom to take a short walk by himself, which gave

      him time to calm down. Similarly, simply allowing him to sit by himself and calm down

      instead of having several people talk to him would have allowed him to deescalate. However,

      none of these effective strategies were tried.

             69.     Instead, school staff put D.P. in a two-person prone restraint: D.P. was placed

      face-down on the floor, with two staff members applying pressure to his body so he could not

      move. The other students were removed from the room.

             70.     Subsequently, D.P. calmed down, and the assistant principal left the room. D.P.

      got upset again and reportedly made remarks about wanting to hurt himself.

             71.     The assistant principal called Officer Margolis.

             72.     Officer Margolis was employed by the Town of Lantana Police Department but

      stationed at D.P.’s school pursuant to a Security Agreement between the Lantana Police

      Department and SDPBC under which SDPBC paid the Lantana Police Department to station

      officers at some of its schools. Under that contract, SDPBC granted Officer Margolis the

      “same powers and authority” as other school police and he was required to abide by the

      SDPBC Police Department’s written policies. Officer Margolis was to receive an online

      orientation from the SDPBC Police Department informing him of SDPBC policies and

      procedures. Officer Margolis was required to cooperate with his school’s principal and his

      performance was monitored by SDPBC police.

             73.     The assistant principal told Officer Margolis that D.P. was yelling and

      throwing things in the room and that she was hit by a stuffed animal when she approached

      him. Officer Margolis then observed D.P. jumping on the desks and breaking items in the

      classroom.



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   Officer Margolis’s report claims that D.P. had made statements to his teacher such as, “I wish I

   could shoot you in your [expletive] head,” and “Right now I am thinking I want to hold my

   breath so I can die.” Such alleged statements are not uncommon for an upset child. D.P. did not

   have access to a weapon and made no overt action to harm himself.

              74.    Officer Margolis had no reason to believe D.P. had a mental illness.

              75.    Officer Margolis had no reason to believe that D.P. posed an imminent danger

      of serious bodily harm to himself or others.

              76.    Nonetheless, after Officer Margolis initiated the involuntary examination, P.S.

      was called and told that D.P. was being transported for involuntary examination. She was not

      asked for and did not provide her consent for D.P.’s involuntary examination.

              77.    There is no documentation that any medical or mental health professional was

      consulted about the decision to use the Baker Act on D.P.

              78.    In the Report of Law Enforcement Officer Initiating Involuntary Examination,

      Officer Margolis detailed the behavioral issues from the day and the statements allegedly

      made by D.P., along with the guardian’s unavailability to pick him up. However, there was no

      mention of D.P.’s ASD diagnosis or placement in an ASD classroom, or other options that

      could have been used to deescalate D.P. There was no mention of attempts to employ de-

      escalation techniques identified in school records for D.P.’s disability-related behaviors.

              79.    By the time transport arrived to take D.P. to the receiving facility, D.P. was

      calm and fully deescalated.

              80.    Upon information and belief, D.P. was handcuffed in the back of the police car

      awaiting transport to a receiving facility.

              81.    The transporting officer told D.P. that he was being taken home. D.P. did not

      know that he was being sent for involuntary examination until he arrived at the receiving

      facility.




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                82.     D.P. was transported to a receiving facility and handcuffed in the back of the

        police car for approximately 20 minutes during transport. A school counselor accompanied

        D.P. in the police car to the receiving facility.

                83.     At the receiving facility, D.P. expressed that he was bullied at school by other

        students. He also said that he was upset because he could not go on a field trip.

                84.     Intake documents from the receiving facility stated that D.P. did not appear to

        be in any acute stress, that the school explained an issue with behavior problems, and that

        D.P. said, “I just get mad. I don’t want to hurt myself.”

                85.     The report from the Baker Act receiving facility psychiatrist stated that D.P.

        was calm and not suicidal, and had no psychosis, suicidal ideations, or homicidal ideations.

                86.     D.P. and his family have suffered greatly from the trauma of SDPBC’s misuse

        of the Baker Act on him. D.P.’s involuntary examination compounded his pre-existing

        traumatic experiences.

                87.     After D.P.’s involuntary experience with the Baker Act, he has become more

        aggressive and gets upset more easily. He has had several years of therapy but requires

        ongoing therapy and is still afraid that police and school staff are out to get him. This harm

        has created lasting impacts on D.P.

                 B. E.S.

                88.     E.S. was nine years old and in third grade when SDPBC Police Department

        Officer Jose Cuellar seized him for involuntary examination due to behavior consistent with

        E.S.’s ASD.

                89.     E.S. was eligible for ESE with the exceptionality of Other Health Impaired.21
        E.S. had been diagnosed with ASD, ADHD, and Dyslexia.


   21
     “Other health impaired” means “having limited strength, vitality or alertness, including a
   heightened alertness to environmental stimuli, that results in limited alertness with respect to the
   educational environment, that is due to chronic or acute health problems. This includes, but is not
   limited to, asthma, attention deficit disorder or attention deficit hyperactivity disorder, Tourette



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             90.     E.S.’s school was aware of his disability-related behavioral needs and had

      some supports in place to address them, including placement in a smaller classroom designed

      to address the needs of children with ASD with a paraprofessional to support the primary

      teacher.

             91.     E.S.’s mother provided a board-certified behavioral analyst (“BCBA” or

      “behavioral aide”) who worked with E.S. at school.

             92.     The school’s ESE coordinator and principal were aware that his mother, J.S.,

      could successfully de-escalate E.S. when he exhibited challenging behaviors.

             93.     On August 30, 2019, E.S. was in his classroom when he became upset. He was

      taken from the classroom to the main office by his behavioral aide.

             94.     At the office, E.S. yelled. While his behavioral aide worked to de-escalate him,

      he swung his arm and hit her in the chest, hard enough to leave a red mark but not hard

      enough to injure her.

             95.      Shortly thereafter, school staff contacted Officer Jose Cuellar, the SDPBC

      Police Department Officer assigned to E.S.’s campus that day.

             96.     After Officer Cuellar arrived, E.S. hit a thick glass window but did not damage

      it or harm himself.

             97.     According to the behavioral aide’s employee incident report, Officer Cuellar

      tackled E.S. to the ground and said, “If you’re going to act like a fool I’m going to treat you

      like a fool,” and “You are coming with me.”

             98.     When E.S. was slammed to the floor by Officer Cuellar, E.S.’s knees were

      scraped.

             99.     After E.S. was restrained by Officer Cuellar and another SDPBC employee, he

      allowed Officer Cuellar to put handcuffs on him.


   syndrome, diabetes, epilepsy, a heart condition, hemophilia, lead poisoning, leukemia, nephritis,
   rheumatic fever, sickle cell anemia, and acquired brain injury.” Florida Administrative Code,
   6A-6.030152.



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             100.    Even though E.S. at that point deescalated, Officer Cuellar decided to initiate

      an involuntary examination under the Baker Act.

             101.    The behavioral aide whom E.S. had struck in the chest disagreed with Officer

      Cuellar’s decision to initiate an involuntary examination and stated in her report that “the

      tantrum behavior had ceased and was under control.”

             102.    J.S. was not contacted by the school principal until after Officer Cuellar had

      decided to initiate an involuntary examination of E.S.

             103.    J.S. was not asked for consent to the Baker Act by the school principal and did

      not provide consent.

             104.    Officer Cuellar removed the handcuffs while he completed the Baker Act

      paperwork.

             105.    E.S. remained calm for at least ten minutes while waiting for transportation,

      even after the handcuffs were removed.

             106.    Another school police officer arrived, handcuffed the calm and compliant E.S.

      again, and took him away in a police car to the Baker Act receiving facility.

             107.    Officer Cuellar contacted J.S. after E.S. had left in a police car and told her

      that, regardless of E.S.’s disability, he would have initiated an involuntary examination under

      the Baker Act. Officer Cuellar also stated that there was “no point” in J.S. racing to the

      hospital because she was not going to be allowed to see E.S.

             108.    After examination, the Baker Act receiving facility told J.S. that E.S. was not a

      danger to himself or others, and she was allowed to take him home the same day.

             109.    E.S. returned to school after several days.

             110.    After the incident, J.S. requested that the school district investigate the school

      and the officer’s conduct. Office Cuellar told department investigators that he knew E.S. had a

      diagnosis of ASD.

             111.    Officer Cuellar had no reason to believe that E.S. had a mental illness.




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                112.   Officer Cuellar had no reason to believe that E.S. was at imminent risk of

      causing serious bodily harm to himself or others.

                113.   No mobile response team or other medical professional was consulted about

      the decision to initiate an involuntary examination under the Baker Act on E.S.

                114.   E.S.’s behavioral aide stated she did not think the involuntary examination

      under the Baker Act was appropriate.

                115.   SDPBC did not employ the Baker Act on E.S. again, but he was repeatedly

      suspended and physically restrained by school personnel.

                116.   After some time J.S. lost trust in the school’s ability to ensure her son’s

      education and keep him safe and placed E.S. in a private school. If that trust is restored, she

      would be interested in exploring his return to SDPBC.

                C. W.B.

                117.   W.B. was ten years old and in fourth grade when SDPBC Police Department

      Officer Johnny Brown seized him for involuntary examination without consent from his

      parent.

                118.   W.B. was eligible for ESE with exceptionality of Emotional/Behavioral

      Disability (“EBD”) and SDPBC had placed him in a direct instruction cluster class for EBD

      students. SDPBC staff knew of accommodations that were effective to address W.B.’s
      disability-related behaviors and were documented in W.B.’s school records.

                119.   W.B. was receiving therapy three times a week from the school counselor.

                120.   Prior to the 2020-2021 school year, W.B.’s parents informed SDPBC that he

      was taking medication for Oppositional-Defiant Disorder and that he did not like to be

      touched by anyone, especially men.

                121.   On December 16, 2020, W.B. got into a fight with another child in the EBD

      unit. L.H., W.B.’s mother, was concerned about safety in the classroom and the teacher’s lack

      of control and intervention in the classroom, as well as the teacher’s lack of ESE certification.




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             122.    L.H. shared her concerns with SDPBC. On January 7, 2021, SDPBC shared

      that a plan was devised to provide additional training and support for the EBD classroom

      teacher.

             123.    On January 13, 2021, L.H. expressed concerns about another altercation with

      the same student in the EBD unit and the teacher’s lack of intervention. L.H. shared these

      concerns with SDPBC.

             124.    On February 16, 2021, W.B. became upset and began throwing chairs. He ran

      outside the school and attempted to climb a fence.

             125.    School staff successfully convinced W.B. to stop trying to climb the fence.

             126.    At that point the school police officer, Officer Brown, became involved.

      Officer Brown was not the normal police officer assigned to W.B.’s school; he was filling in

      for another officer. About two minutes after reaching the fence, Officer Brown handcuffed

      W.B., even though school staff were aware W.B. had an aversion to touch. W.B.’s mother,

      LH., was called and came to the school. W.B.’s father also tried to enter the school but was

      not permitted to enter.

             127.     The administrator and principal’s secretary were waiting with W.B. When she

      entered the room, L.H. saw her son sitting on a chair with his hands handcuffed behind his

      back. He was angry and upset but not getting up. He expressed that he wanted his handcuffs

      removed, but they were not.

             128.    No school staff contacted W.B.’s school counselor or the doctor who

      prescribed his medications. School staff called the mobile response team, but hung up because

      the police officer had already decided to use the Baker Act on W.B.

             129.    The school refused to allow L.H. or W.B.’s father to take W.B. home.

             130.    Officer Brown’s report states that W.B. wanted to commit suicide by jumping

      off a building and that he wanted to take the police officer’s supervisor’s gun and kill people.

      School staff were aware that W.B. made empty threats and that W.B. could be deescalated if

      they did not react to those threats.



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              131.    Officer Brown’s report states that L.H. said that W.B. commented he had been

      looking up ways to kill people on the internet. W.B.’s mother never stated that W.B. had been

      looking up ways to kill people on the internet. She later searched all devices at their home and

      did not find any records of the alleged searches referenced in the report.

              132.    The school was aware of many successful and documented de-escalation

      strategies that they did not use on the day W.B. was transported for involuntary examination,

      yet Officer Brown did not take action to deescalate W.B. Officer Brown had no reason to

      believe that W.B. posed an imminent danger of serious bodily harm to himself or others.

              133.    Instead, Officer Brown transported W.B., handcuffed, in his police car, to a

      receiving facility for involuntary examination. This facility is more than 50 miles away and

      takes an hour to drive to without traffic.

              134.    As of the next day, W.B. was still in a “hold department” and not admitted

      because there were no beds available. He spent the previous day and night in a reclining chair

      in front of the television in the emergency room. His parents were not permitted to visit him at

      the facility.

              135.    Once W.B. was finally moved to the children’s department, he was

      involuntarily detained for another day before he was finally examined by a doctor.

              136.    After W.B. was evaluated and released, the only change to his mental health

      treatment was a slight increase in his existing medication—medication that school staff were
      aware he was already prescribed.

              137.    W.B. expressed that he did not want to go back to the Baker Act facility and

      that he did not like being away from his family.

              138.    Because of SDPBC’s unnecessary use of the Baker Act against him, W.B.

      missed a significant amount of school and L.H. missed days of work.

              139.    W.B. and his family have suffered from the SDPBC’s use of involuntary

      examinations under the Baker Act. The trauma of being handcuffed, taken away from his




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      family in a police car, and locked away from them for days has created tremendous harm for

      W.B.

              D. M.S.

             140.    M.S. was eleven years old and in sixth grade when she was transported in

      handcuffs from her school for involuntary examination under the Baker Act. M.S. is a student

      with a disability who has a Section 504 plan.

             141.    M.S. lives with her parents S.S. and R.S.

             142.    Over the course of 2020, M.S. experienced a number of traumatic events.

             143.    On January 27, 2021, S.S. and R.S. were called to M.S.’s school by the

      school’s assistant principal to create a school safety plan for M.S. They were told that there

      had been a student report of M.S. engaging in self-harm.

             144.    After creating the safety plan, S.S. and R.S. were informed that a sheriff’s

      deputy from the Palm Beach County Sheriff’s Office was initiating an involuntary

      examination of M.S. under the Baker Act. M.S. was transported in handcuffs to a receiving

      facility for involuntary examination by the sheriff’s deputy.

             145.    After M.S.’s release from the January 27, 2021 involuntary examination, her

      mother S.S. had a phone conference with the school counselor. During the conference, S.S.

      requested that, if M.S. was ever transported for involuntary examination again, the school
      transport her using an ambulance instead of police car because the police car transport had

      been very traumatic for M.S..

             146.    On February 22, 2021, S.S. and R.S. were called by the school assistant

      principal to come to the school for a meeting about M.S. S.S. and R.S. promptly came to the

      school and met with the assistant principal, a behavioral health professional, a school police

      officer, and a mobile response team counselor. S.S. and R.S. informed the meeting attendees

      of a recent event that had triggered M.S. and that M.S. would see her therapist more often in

      response. M.S. was sent home with her parents and was seen by her therapist later on the same

      day at their home.



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               147.   On February 25, 2021, S.S. and R.S. were called by the school. S.S. and R.S.

      were told that SDPBC was going to initiate an involuntary examination of M.S. under the

      Baker Act. S.S. and R.S. asked if the SDPBC Police Department officer could wait to

      transport M.S. to the receiving facility until her parents could come to the school. They were

      told that the officer could not wait for them to arrive at school because he needed to return to

      lunch duty.

               148.   The police report for the February 25, 2021 incident, prepared by a SDPBC

      Police Department officer, states that M.S. was examined by a “mental health professional,”

      who said that M.S. had “attempted suicide” using “the sharpened edge of her student ID

      card.”

               149.   Officer Jordan Lauginiger and Officer James O’Sullivan were called to M.S.’s

      school to transport her to a receiving facility. Officer Lauginiger handcuffed M.S., placed her

      in the back of the police vehicle, and buckled her seat belt. Officer Lauginiger and Officer

      O’Sullivan, along with the school’s assistant principal sitting in the back seat next to M.S.,

      transported M.S. to the receiving facility.

               150.   Officer Lauginiger knew that it was not necessary to handcuff M.S. during the

      at least ten-minute transportation to the receiving facility. M.S. was calm and compliant while

      awaiting transport and while walking to the marked police car that transported her to the

      receiving facility.

               151.   S.S. and R.S. went to the receiving facility to see M.S. immediately upon

      learning that she was being transported there.

               152.   After this incident, S.S. and R.S. decided to keep her at home for virtual

      instruction due to fear of another involuntary examination under the Baker Act and M.S.

      being handcuffed and transported in a police car again.

               153.   M.S. had previously received As and Bs in school. After this incident, her

      grades dropped precipitously and she was at risk of being ejected from her visual arts program

      of study.



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             154.        M.S. and her family have suffered greatly from this trauma. M.S. has told her

      mother that she felt a lot of guilt and shame, because she thought she was treated like a

      criminal in front of her classmates when she was taken to the receiving facility. After M.S.’s

      experience with the Baker Act, she has become withdrawn and gets upset more easily. This

      harm has created lasting impacts on M.S.

              E. Other Children

             155.        SDPBC’s treatment of D.P., E.S., W.B., and M.S. is sadly typical of its use of

      the Baker Act on youth. Review of other police reports written by SDPBC police officers to

      justify their use of the Baker Act reveals that, even if their narratives are taken as factual and

      complete: many children whose involuntary examination under the Act was initiated by

      school police did not in fact meet the statutory criteria; SDPBC police officers routinely failed

      to seek input from a mental health professional; and SDPBC police officers routinely failed to

      attempt to identify less restrictive means to deescalate the child.

             156.        In addition, while the Baker Act requires that handcuffs and other restraints

      only be used when necessary to protect the person subject to involuntary examination or

      others, Fla. Stat. § 394.459(1), SDPBC policy provides that officers shall handcuff and

      restrain children both while at school and during transportation to the receiving facility.

             157.        For example:

                    a.       School police seized a nine-year-old for involuntary examination after he
   allegedly threatened to hurt others with what the report describes as a “white plastic fork.”

                    b.       A seven-year-old was sent for involuntary examination at the

   recommendation of his school’s mental health counselor after he “threw books and kicked

   chairs” even though he denied wanting to hurt himself or others.




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                     c.    After a police officer learned that a thirteen-year-old girl had been treated

   by the school nurse for scratching her wrist with a plastic knife, he took her for involuntary

   examination. The officer made the decision without consulting a mobile response team even

   though the student had an appointment with her counselor later that day and had documented

   trauma from a past experience with the Baker Act.

                     d.    An eight-year-old who made comments suggesting a desire to self-harm

   was taken for involuntary examination by school police against the recommendations of

   SDPBC’s own mobile response team.

                     e.    School police used the Baker Act on a twelve-year-old boy, without the

   involvement of a mobile response team, after he left class without permission and was “defiant”

   toward staff when they tried to restrain him. The police report gives no reason to think he had a

   mental illness.

                     f.    A school police officer and a mobile response team member employed the

   Baker Act on a seven-year-old boy after he told an officer that he wanted to “tie up [his teacher]

   by the legs and punch her repeatedly” because “she wouldn’t let him attend a pizza party.”

                     g.    An officer was called to observe the search of an eleven-year-old boy’s

   backpack because he had been seen “in possession of a black plastic knife.” The boy

   communicated that he needed to have the knife “because he needed it to protect himself from

   other students he alleged were ‘plotting against him.’” Though no knife was found, he was sent

   for involuntary examination on the recommendation of a mobile response team member because

   she had previously interviewed him at a different school he then attended, and he had then made

   threats to self-harm.

                     h.    A ten-year-old girl told an officer that she “ha[d] thoughts of harming

   herself multiple times.” But all of her attempts were “performed by using her finger nails [sic]

   and scraping her wrist multiple times,” and her wrists did not show any signs of scratching.

   Nonetheless, the mobile response team was called and recommended use of the Baker Act.




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                  i.      A seven-year-old boy described as “hostile, aggressive, and in full rage”

   was flipping and throwing classroom furniture and books. There was no indication that the

   student desired to harm himself or that he actually had the physical capacity to harm anyone else.

   Nonetheless, a mobile crisis unit member recommended use of the Baker Act and the officer

   complied because he believed the student “was in need of professional intervention.”

                  j.      A ten-year-old boy left class without permission, hit his teacher on the

   arm, and shoved her. When a school police officer took him to the assistant principal’s office, he

   yelled, tried to leave, knocked some items off her desk and kicked her twice. Even though he at

   no time threatened to harm himself or posed any danger of serious bodily harm to anyone, the

   officer then initiated an involuntary examination under the Baker Act.

                  k.      An officer was called to an elementary school classroom for children with

   disabilities where an eight-year-old boy had “tossed and thrown around” chairs and desks and

   attempted to bite his teacher. He was initially “defiant” until the officer played dinosaur videos

   on YouTube, which “calmed him down and allowed [SDPBC staff] to make contact with his

   mother and mobile crisis.” According to the report, when the mobile response team arrived, the

   boy said, “shut up, I’ll punch you in the face.” Even though the boy had been able to deescalate

   by watching a dinosaur video, the mobile response team recommended that the child be sent for

   involuntary examination, and the officer complied.

                  l.      A thirteen-year-old girl was taken for involuntary examination by an

   SDPBC police officer because she had reportedly cut her arm with a plastic knife the night

   before. The student told the officer that she would calm down if she could see her eighteen-year-

   old sister, but the sister was not contacted. The Baker Act was used even though the parents

   already had a session scheduled with the child’s counselor and caseworker for the same day.

                  m.      SDPBC police officers seized a twelve-year-old boy for involuntary

   examination because he had scratched himself on the wrist with a pencil and “seemed to be

   upset.”




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               158.    These incidents, and the many more like them in SDPBC’s records, show that

        SDPBC’s misuse of the Baker Act on D.P., E.S., W.B., and M.S. were not aberrations but

        instead consistent with its routine practice.

    IV.     SDPBC’S INADEQUATE POLICIES, PROCEDURES AND TRAININGS RESULTED IN ITS
            EXCESSIVE AND ILLEGAL USE OF THE BAKER ACT AND WILL CONTINUE TO DO SO

               159.    In the period from July 2019 to March 2020, before SDPBC switched to

        remote instruction due to the Covid-19 pandemic, SDPBC police seized 286 students for

        involuntary examination on 323 occasions.22 Before remote instruction began, SDPBC was on

        track to initiate involuntary psychiatric examination of students more than 400 times by the

        end of the academic year.




               160.    From July 2019 to March 2020, 62 Baker Act incidents involved elementary

        school students and 103 involved middle school students. D.P., at just nine years old, is far

        from the youngest child SDPBC subjected to the Baker Act that year. Indeed, SDPBC

        initiated involuntary examination of children younger than nine a total of 17 times in the

        2019-2020 school year: four six-year-olds, nine seven-year-olds, and six eight-year-olds.


   22
      These figures do not include the small number of children seized for examination by officers,
   like Officer Margolis, employed by other police departments and stationed at SDPBC schools.


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               161.    The 2019-2020 school year is not an anomaly. SDPBC Police Department

        officers used the Baker Act 401 times in 2018-2019 (including on 36 children under age nine,

        one of whom was just five); 236 times in 2017-2018 (including on 10 children under age nine,

        three of whom were five); and 257 times in 2016-2017 (including on 23 children under nine-

        years-old, four of whom were five).

               162.    SDPBC data also shows troubling racial disparities. Of the 323 children

        SDPBC Police Department officers subjected to the Baker Act in the 2019-2020 school year,

        24 percent were non-Hispanic White and 40 percent were Black. Comparatively, the Palm

        Beach County student population is 33 percent non-Hispanic White and 28 percent Black. In

        total, SDPBC used the Baker Act on Black children at twice the rate of White children.

               163.    Even more concerningly, 40 out of 59, or 68 percent, of the five, six, and

        seven-year-olds who SDPBC Police Department officers seized for involuntary examination

        over the last four years were Black children—consistent with data that shows adults routinely

        see Black children as older and more threatening.23 In total, SDPBC Police Department

        officers removed Black children from school through involuntary examinations under the

        Baker Act at twice the rate of White children.

               164.    SDPBC employs involuntary examination in many instances when it is not

        necessary, and even when it is prohibited by statute.

               165.    A review of police reports from all Baker Acts initiated by SDPBC Police

        Department officers in the 2018-2019 and 2019-2020 school years, obtained through public

        records requests, shows that, according to the narrative written by the officer initiating an

        involuntary examination:24


   23
      Phillip Atiba Goff et. all, The Essence of Innocence: Consequences of Dehumanizing Black
   Children, 106 J. of Personality and Soc. Psych. (2014),
   https://www.apa.org/pubs/journals/releases/psp-a0035663.pdf.
   24
      The percentages are based on analysis of complete police reports provided by SDPBC.
   Twenty-six incomplete reports were excluded because the narrative portion of the police report
   was missing. Seventeen police reports of involuntary examinations initiated at charter schools
   were also excluded.


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                    a.       In about 60 percent of cases, there is no evidence that a mobile response

   team was contacted.

                    b.       Where the report indicates that the school had knowledge of the child’s

   treatment provider, fewer than half of those cases document any attempt to contact the existing

   treatment provider.

                    c.       In about 10 percent of cases, there was evidence the child had been

   involuntarily examined under the Baker Act previously.

             166.        SDPBC’s disproportionate and inappropriate use of the Baker Act is

      unfortunately unsurprising given the inadequate and inaccurate information about the law the

      district provided to its employees.

             167.        Police officers employed or contracted by SDPBC initiated involuntary

      examination under the Baker Act of children independently or, more typically, after they were

      contacted by teachers or school administrators. Despite assigning police to determine when

      young children will undergo the traumatic experience of involuntary psychiatric examination,

      SDPBC provided its police employees and contractors with inaccurate information about the

      legal standard for involuntary examination and inadequate training on applying that legal

      standard accurately and without discrimination against children with disabilities.

             168.        Throughout the time of the child plaintiffs’ involuntary examinations, SDPBC

      policy governing Baker Act use was an August 10, 2018 “Bulletin” entitled “Baker Act

      Decision Tree Protocol,” approved and signed by SDPBC Superintendent Donald Fennoy.

      Superintendent Fennoy was authorized by the School Board to issue bulletins like this one.

      SDPBC staff were required to follow the Bulletin.

             169.        The Bulletin states that “[c]riteria for an involuntary exam are that the

      individual: presents a danger to self or others; and/or appears to have a mental illness as

      determined by a licensed mental health professional.” This short statement contains multiple

      false claims and crucial omissions about the Baker Act. The use of the term “and/or” is

      patently incorrect, as both of the identified factors are required to legally initiate a Baker Act.



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      The statement also omits the statutory requirements that the danger posed by the person

      subject to the Baker Act must be “in the near future,” “evidenced by recent behavior,” and

      constitute “serious bodily harm.” Fla. Stat. § 394.463(1)(b)2.

              170.   The Bulletin tells school officials to “make every effort to include the

      parents/guardians in all phases of the process” but does not instruct schools officials to give

      parents the option of taking their children home instead of using the Baker Act, even when

      doing so would be safe and prevent the need for an involuntary examination.

              171.   The Bulletin does not clarify that behavior that is the result of a developmental

      disability is not a legal basis for use of the Baker Act.

              172.   The 2018 Bulletin also includes a “Baker Act Decision Tree.” This document

      suggests that police will make the final decision to employ the Baker Act, even when mental

      health professionals are involved or disagree: it states that after the “school contacts District

      Response Team/School Police” and the “student remains in crisis and exhibits behaviors

      which potentially meet Baker Act criteria” then either “School Police determines behavior

      does not meet Baker Act criteria” or “School Police/licensed staff initiate Baker Act, if criteria

      met.”

              173.   Under the Bulletin, contacting parents is “recommended,” but there is no

      suggestion that parental consent be sought or obtained before a child is transported to a

      receiving facility. Instead, the Baker Act Decision Tree includes parents in only two steps.

      First, after learning of a potential Baker Act situation, the Tree indicates that a principal

      should contact the parents but does not suggest that they be involved further nor that their

      involvement might change the course of the situation. Second, the Baker Act Decision Tree

      provides that after a school police officer or licensed staff has initiated an exam under the

      Baker Act, a “School Designee contacts and informs parent(s)/legal guardian(s) and informs

      them that the decision has been made to BA and is being transported.”

              174.   SDPBC staff also received inadequate training on the Baker Act. Staff

      members, including those in its Behavioral Health Department directly responsible for Baker



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      Act policy and decision-making, generally could not correctly state the Baker Act criteria.

      They believed and continue to believe that parental consent for involuntary examinations is

      irrelevant and that children can be sent for involuntary examination for behavior that is not

      due a mental illness, including behavior that is due to ASD.

             175.    SDPBC policy continues to the present to be contrary to law. SDPBC Policy

      5.20, adopted by the School Board in 2021 after Plaintiffs filed their Complaint and slightly

      modified in 2022 and 2023, does not include any requirement that parental consent be sought

      or obtained or that parents be asked to participate in any way in the decision whether an

      involuntary examination will be initiated for a child. It contains no ban on the use of

      handcuffs on children being transported to an involuntary examination under the Baker Act,

      providing only vaguely and without further explanation that transport be via the “least

      restrictive means.” It has no provisions regarding transport in vehicles other than marked

      police cars or by nonuniformed officers. It calls for the CAPE team to be consulted in some

      circumstances and, for the first time, allows its members to initiate involuntary examinations,

      but also provides that police officers continue to be authorized to initiate involuntary

      examinations without consulting mental health professionals so long as they get a supervisor’s

      authorization. Finally, the policy does not include a requirement that each involuntary

      examination be reviewed to determine if it was necessary or preventable.

             176.    Moreover, while Policy 5.20 calls for new training, many staff remain unaware

      of the changes it made to SDPBC’s Baker Act policy or believe it made no substantial

      changes. As a result of inadequate training, staff remain generally unaware of key aspects of

      the Baker Act, including that an involuntary examination can only be initiated for behavior

      that is due to mental illness and cannot be used on children for behavior that is due to ASD.

             177.    SDPBC has provided and continues to provide its police officers and

      contractors with plainly inadequate training on determining when it is legal and appropriate

      for young children to undergo the traumatic experience of involuntary psychiatric

      examination.



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             178.    During the time of the Plaintiffs’ involuntary examinations, the primary Baker

      Act training the district provided to its police officers was a single 23-minute video entitled

      “Mental Health Crisis & Appropriate Interventions.” The fifteen minutes of the video that

      actually address the Baker Act misstate the law and omit critical information about when the

      Baker Act can legally and appropriately be used. For instance, the video says that the Baker

      Act can be used on “individuals who have a mental illness, or who may harm or neglect

      themselves or others” (emphasis added). Like the language in the Bulletin, this a serious

      misstatement of the law. In reading the statute out loud, the instructor entirely omits the

      mental illness requirement. The video also states that “[y]oung children that [sic] cannot

      regain control AND are putting themselves at significant risk” are “candidates” for the Baker

      Act, but does not mention any of the other statutory requirements such as mental illness,

      substantial bodily harm, or imminence. Finally, the instructor recommends that officers

      contact mobile response teams only “if you are unsure of whether to Baker Act a person.”

      Upon information and belief, throughout the time relevant to this litigation, SDPBC has not

      provided its police officers and contractors with any other training that correctly stated the

      Baker Act.

             179.    SDPBC has conducted no training specific to the use of handcuffs or restraints

      during Baker Act transport and no training on the harms of unnecessary involuntary

      examination.

             180.    SDPBC Police Department’s policy on the Baker Act in place during the time

      D.P., E.S., W.B., and M.S. were involuntary examined, General Order 11.17 versions 2 and 3,

      was similarly inadequate. It quoted the statutory criteria for Baker Act initiation but gave

      officers no other guidance on when to use the Baker Act. It did not define any of the terms in

      the Baker Act or give any examples of situations in which it could be appropriately used. It

      did not address the Baker Act’s requirement that handcuffs and other restraints only be used

      when necessary for safety purposes. Fla. Stat. § 394.459(1). Finally, the policy said that

      parents will be contacted when involuntary examination under the Baker Act is initiated but



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      did not suggest or require that this occur before the child is transported to a receiving facility

      or that parents be involved in the decision to do so.

             181.    SDPBC Police Department’s policy on handcuffing, General Order 1.5, has

      remained unchanged from prior to 2018 until the present and has always been the only

      SDPBC Police Department policy which addresses handcuffing during Baker Act transport. It

      has an initial “discussion” section that states that officers have discretion about when to

      handcuff persons “in custody” but a later section that specifically states that handcuffs

      “should” be used for involuntary examinations under the Baker Act.

             182.    Version 4 of General Order 11.17, issued in 2022, adds discussion about the

      procedure for determining whether to use the Baker Act but further confuses the legal

      standard, stating that because “[t]he Baker Act is a civil law, not a criminal one; probable

      cause is not required.” Officers in the SDPBC Police Department, including those responsible

      for Baker Act policy and training, understand this to mean what it says: that that they must

      meet a lower standard of evidence to determine that someone meets the Baker Act criteria and

      initiate an involuntary examination than the standard of evidence they must meet to believe

      someone has committed a crime before arresting them. It also states that law enforcement

      officers have discretion about whether to “turn the juvenile over to a parent or guardian or go

      forward with an involuntary examination.”

             183.    As a result of these policies, practices, and trainings (or lack thereof), SDPBC

      police officers and contractors did not and do not know the legal requirements for use of the

      Baker Act. Many of them believe that they are required to handcuff children during Baker Act

      transport and that they may do so in marked police cars. They believe that they are never

      required to obtain parental consent before initiating an involuntary examination.

             184.    Throughout the time of the individual Plaintiffs’ Baker Acts, while SDPBC

      contracted with mental health professionals, including “mobile response teams” designed to

      address youth mental health crises, there were issues with both quality and implementation of

      those services. SDPBC’s contract with South County Mental Health for “mobile response



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        services” does not impose any training or credential standards on members of the teams and

        the teams did not always include a licensed mental health provider. SDPBC’s own CAPE

        team included and still includes staff members who did not know the criteria for involuntary

        examination, including that it is impermissible to use the Baker Act on children for behavior

        that is due to ASD.

               185.    Moreover, the mobile response and CAPE teams were often left out of the

        Baker Act process: in many cases, the teams were never called.

               186.    Even when they were consulted, mobile response and CAPE teams sometimes

        recommended use of involuntary examination in situations where less restrictive alternatives

        were available. And even when mobile response teams correctly recommended against

        involuntary examinations, school police officers could and sometimes did initiate involuntary

        examinations anyway.25

               187.    SDPBC had and has no policy or practice of conducting after-the-fact reviews

        of involuntary examinations initiated by SDPBC staff.

     V.     THE SCHOOL BOARD HAS KNOWINGLY FAILED TO TAKE ACTION TO PREVENT
            ILLEGAL AND INAPPROPRIATE USE OF THE BAKER ACT AGAINST CHILDREN

               188.    The School Board of Palm Beach County has long been aware that SDPBC has

        been misusing the Baker Act.

               189.    As early as October 10, 2012, the School Board held a workshop where the

        School Health Advisory Council presented data that showed that Baker Acts had increased

        from the prior year. One School Board member remarked that “Baker Act numbers going up

        [wa]s not a good thing.”

               190.    In April of 2014, a report on Palm Beach County mental health resources

        presented to the School Board found that schools were not adequately identifying and helping



   25
      In a small number of cases mobile response team members who do have mental health
   credentials have initiated examinations themselves in SDPBC schools, leaving children to be
   transported by police.


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      students with mental illnesses and other behavioral challenges. “As a result,” the report wrote,

      “the number of children who are being Baker Acted from school is increasing.”

             191.     The Superintendent’s Annual Report issued in 2018 identified “reduc[ing]

      unnecessary Baker Act admissions” as a goal.

             192.     In 2019, a School Board member requested that Baker Act data from the past

      three years be provided to the School Board because she was “alarmed” by reports that use of

      the Baker Act was increasing.

             193.     In early 2020, data from 2016 through 2020 showing a huge increase in the

      number of Baker Acts of SDPBC students was provided to all of the School Board members.

             194.     SDPBC employees have also been made aware of inappropriate use of the

      Baker Act in numerous individual instances by medical experts and child advocates over the

      intervening years, including some it employs itself.

             195.     SDPBC employees have collected and possessed data showing increasing rates

      of Baker Act use from 2016-2020, yet took no effective actions to address it.

             196.     Upon information and belief, SDPBC employees have expressed concerns with

      SDPBC’s use of the Baker Act to School Board Members, including at School Board

      meetings, and yet SDPBC took no effective actions to address it throughout the 2016-2021

      school years.

             197.     Over the 2018-2019 and 2019-2020 school years, the SDPBC’s Police

      Department conducted two Internal Affairs investigations of officers who initiated involuntary

      examinations, including the case of E.S. Both were conducted only after the child’s parents

      made a complaint.

             198.     In E.S.’s case, the involuntary examination was inappropriate: E.S.’s behavior

      was due to his ASD and he was not a danger to himself or others in any respect—let alone an

      imminent danger or a danger of serious bodily harm. Despite the complete absence of any

      evidence that E.S. met the legal criteria, the Internal Affairs investigation found that Officer

      Cuellar was not in violation of SDPBC’s Baker Act procedures. The Internal Affairs report



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      also found that Officer Cuellar’s use of force was not “excessive” due to “resistance” by E.S.,

      a nine-year-old.

             199.    In the other case, which occurred in 2018, an officer responded to a report of

      an elementary school student with ASD who was attempting to hit students and shove food

      from a lunch box into their faces. The officer successfully contacted the child’s mother, who

      said she was coming to the school. School staff knew from prior experience that she was often

      able to deescalate the child when school officials could not. While she was en route, the child

      again attempted to hit a school employee. Even though the child was nine years old, and the

      supposed adult victim was 6’3’ and weighed 275 pounds, the officer concluded that the child

      was a danger to others and placed him in handcuffs and “hobble restraints.”

             200.    While the officer was taking the child to his police car for transportation to a

      receiving facility, the child apologized to the school employee he had hit. The officer did not

      view the child’s apology as a sign that he was no longer a danger to others, if he had ever

      been. He instead concluded that, unlike other children with ASD whom he perceived as “in

      their own world,” this child was “cognizant of his actions.” The officer’s statement suggests

      that he thought the child’s behavior deserved punishment because his actions were

      “calculated” and that he viewed use of the Baker Act as a form of punishment.

             201.    While the Internal Affairs investigator found that the officer had not violated

      department policies, the SDPBC Police Chief overruled the decision.

             202.    In both Internal Affairs investigations, the investigator identified “concerns

      which should be addressed through training, with regards to Baker Acts involving students

      with Autism [ASD].” At the conclusion of both investigations, it was recommended that

      “supervisors and school-based police officers, particularly those who are assigned to schools

      with ASD cluster sites, have up-to-date training regarding ASD and Baker Acts.” The Internal

      Affairs investigator also “recommended that school-based officers and supervisors understand

      the importance of contacting parents or guardians of ASD children.”

             203.    SDPBC has not acted on these recommendations for increased training.



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               204.    SDPBC has also been aware of illegal use of involuntary examination under

        the Baker Act through a recording, first made public by the Palm Beach Post in 2021 but

        known to SDPBC prior to that date. The recording was made by a SDPBC school police

        officer during a 2017 incident where an elementary school principal attempted to pressure the

        officer into using the Baker Act on a seven-year-old girl.26

               205.    On that same day, the police officer sent the audio recording to his supervisor

        raising concerns that “the Principal, Staff and even the Crisis Response try to push for a

        (child) to be Baker Acted, for throwing things, books against the wall . . . . I’m certain the

        incident does not meet the criteria for a Baker Act.”

               206.    As revealed by that recording, the officer, the principal, a teacher, and a

        representative of the mobile response team met and spoke about a seven-year-old girl, who

        was also present. The other adults urged the officer to initiate an involuntary examination

        under the Baker Act of the student, who had allegedly “kicked” and “slapped” a teacher and

        then laid down on the floor and refused to follow directions.

               207.    The officer explained that the girl could not be sent for involuntary

        examination because she did not meet the Baker Act criteria: there was no indication she

        wanted to harm herself, and she did not pose an actual risk of harm to the adults around her,

        since she was seven years old and physically incapable of hurting them.

               208.    The principal eventually admitted that she wanted the girl sent for involuntary

        examination because she was frustrated with the child’s mother for not working with the

        school and with previous failed interventions. The principal asked, “How is she going to

        learn? How am I supposed to put her in an academic setting?” The officer replied that he was

        not there to make the child learn, but to see if she was a danger to herself or others. The

        principal then made clear that the real reason she wanted an involuntary examination was to



   26
     Sonja Isger, Should school use Baker Act on 7-year-old? A look inside one case, The Palm
   Beach Post (May 14, 2021), https://www.palmbeachpost.com/story/news/2021/05/14/should-7-
   year-old-baker-acted-school-look-inside-one-case/5054465001/.


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      get the student to leave the school, saying that “this is not the right placement for her.” The

      officer countered that teaching a child a lesson or trying to convince her mother to move her

      to another school are not legal bases for use of the Baker Act.

             209.    The school staff remained undeterred: the teacher said that “I’m not saying she

      wants to kill herself,” but the teacher thought “the Baker Act will be a wake-up call.”

             210.    Even more disturbingly, the mobile response team member also recommended

      use of the Baker Act, despite not being able to articulate any reasons the child posed a danger

      to others aside from the fact that she was “throwing things around.”

             211.    While the officer in this case did not use the Baker Act, the audio tape reflects

      that SDPBC officials have pressured school police and other staff to use the Baker Act even

      when its use is known to be unlawful. As described above, other officers have subsequently

      used the Baker Act on children in similar circumstances.

             212.    Even worse, instead of elevating the officer’s concerns when he shared the

      recording with his supervisor, SDPBC referred the incident to the State Attorney’s Office for

      criminal prosecution. The State Attorney’s Office declined to press charges but SDPBC

      subsequently opened an Internal Affairs investigation into the officer’s actions.

             213.    In March 2021, the Southern Poverty Law Center (“SPLC”) and others issued a

      report identifying Baker Act misuse in Palm Beach County and throughout the state.

             214.    At least one School Board member was aware of the issue long before the

      report; multiple community members have informed this School Board member about the

      inappropriate use of the Baker Act on children, especially Black children in the District.

             215.    In October 2017, an email from a reporter was sent to an email distribution list

      that is delivered to School Board members. The reporter was requesting a comment from the

      SDPBC “regarding a Barton Elementary student who was handcuffed and Baker Acted by

      School Police earlier [that] week.” The student was reportedly in kindergarten.

             216.    In December of 2018, an email from an SDPBC parent was sent to an email

      distribution list that is delivered to all School Board members regarding the involuntary



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        examination of her 10-year-old son. She wrote that on September 26, 2018, her son was

        involuntary examined after he told his teacher that he would jump out the window if he had to

        do any more math. The school was aware that her son had a diagnosis of ADHD, an existing

        mental health provider, and that his parents were willing to make arrangements to pick him up

        from school. However, without seeking parental consent, the school police officer initiated an

        involuntary examination of her son. Because no psychiatrist was available at the receiving

        facility, her son was admitted and spent the night at the receiving facility. Her son was

        released the next morning after the psychiatrist was finally able to examine him, telling her

        that her son “should never have been admitted to begin with.” On January 21, 2019, the parent

        email was forwarded to one of the School Board members again.

               217.    On February 21, 2020, a concerned parent emailed two School Board members

        an article from Boca News Now27 titled, “New Omni bullying: autistic child ‘Baker Acted’ by

        school cop.” The article described the involuntary examination of an 11-year-old boy with

        diagnoses of ADHD and ASD known to SDPBC. The school police officer initiated an

        involuntary examination of the boy after he was allegedly defending himself from a bully. The

        boy was handcuffed and transported in a police vehicle to the receiving facility. Upon arriving

        at the receiving facility, the boy was released right away with medical staff telling the boy’s

        guardian that the involuntary examination was “absurd.” The officer who initiated the

        involuntary examination was still on probationary status and was later terminated for reasons

        unrelated to the involuntary examination.

               218.    Boca News Now reached out to SDPBC for comment on the involuntary

        examination but was told that “[b]ecause of student privacy regulations, the District [was] not

        at liberty to speak specifically to media questions regarding specific cases involving children.”




   27
     “New Omni Bullying: autistic child ‘Baker Acted’ by school cop,” Boca News Now (Feb. 21,
   2020), https://bocanewsnow.com/2020/02/21/new-omni-bullying-autistic-child-baker-acted-by-
   school-cop.


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               219.    Nonetheless, despite repeatedly being made aware of Baker Act misuse,

        SDPBC has sent an increasing number of children for involuntary examination through at

        least 2020.

               220.    Superintendent Fennoy responded to the SPLC report by saying, falsely, that

        the data was “three to four years old” when in fact the March 2021 report’s data included the

        2019-2020 school year. He also acknowledged that there was a grave risk of increased use of

        involuntary examination under the Baker Act as soon as SDPBC schools reopened fully.

               221.    When challenged in the press on its Baker Act use, SDPBC staff have asserted,

        falsely, that SDPBC has already taken steps sufficient to reduce inappropriate Baker Act use

        and/or that its use of the Baker Act is in fact appropriate and therefore no corrective action is

        needed. For instance, in a statement quoted in a March 30, 2021 article on cbs12.com, a

        spokesman for SDPBC claimed that “[t]he School District relies on the Baker Act statute as a

        last resort when children are in danger of hurting themselves or others,” even as School Board

        members conceded that was not the case.28 In another CBS12 article, Deputy Superintendent

        Keith Oswald again defended SDPBC’s Baker Act use: “‘[I]s a Baker Act a traumatic

        experience for a child? Absolutely,’ Oswald said. ‘But nothing is worth the cost of life.’”29

        SDPBC staff also continued Superintendent Fennoy’s attempt to describe the issue as one that

        had been solved, pointing to increased mental health resources in schools funded in a 2018

        referendum. But while these new mental health resources were fully in place by mid-2019,

        SDPBC used the Baker Act at a record rate in the 2019-2020 school year.

               222.    SDPBC has a history of using involuntary examination under the Baker Act for

        disability-related behaviors that are not related to a mental illness and/or do not require



   28
      “Palm Beach County School District ‘Excessively’ Baker Acts students, study says,” CBS 12
   News (Mar. 30, 2021), https://cbs12.com/news/local/palm-beach-county-school-district-
   excessively-baker-acts-students-study-says.
   29
      “Palm Beach County School District says Baker Act report left out critical information,” CBS
   12 News (Apr. 29, 2021), https://cbs12.com/news/local/palm-beach-county-school-district-says-
   baker-act-report-left-out-critical-information.


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      treatment in a restrictive environment; of seizing children for involuntary examination under

      the Baker Act without reasonable belief that the children met the statutory criteria for

      involuntary examination; of handcuffing all children transported for involuntary examination

      regardless of any individualized determination; of disregarding or denying its own stark Baker

      Act data; and of failing to develop policies and practices to ensure legal and appropriate use of

      the Baker Act. This history shows that SDPBC cannot and will not remedy its Baker Act

      issues without court oversight. Instead, SDPBC’s abuse of the Baker Act use will only end

      with comprehensive injunctive relief.

                                           CAUSES OF ACTION

                                                  COUNT 1

    D.P., W.B., E.S., and Disability Rights Florida against Defendant School Board: Violation
                              of the Americans With Disabilities Act

             223.        Plaintiffs re-allege paragraphs 14-19, 22-139, and 155-222.

             224.        Defendant School Board is a public entity subject to Title II of the ADA and is

      officially responsible for supervising the operations of a public entity subject to Title II of the

      ADA. 42 U.S.C. § 12131(1).

             225.        D.P., E.S., W.B., and constituents of DRF are, or are suspected of being,

      qualified individuals with disabilities within the meaning of Title II of the ADA and meet the

      essential eligibility requirements for the receipt of services, programs, or activities of

      Defendant School Board. Id. § 12131(2). Through the acts and omissions set forth above,

      Defendant School Board violates Title II of the ADA and discriminates against Plaintiffs by

      reason of their disability by:

                    a.       Failing to reasonably modify the Defendant’s programs and services as

                             needed to avoid discrimination against Plaintiffs; and

                    b.       Using methods of administration that have the effect of defeating or

                             substantially impairing the accomplishment of the objectives of the

                             Defendant School Board’s programs with respect to the Plaintiffs.




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               226.   D.P., E.S., W.B., and constituents of DRF did not and do not pose a significant

      risk to the health or safety of others, or any risk posed could have been or could be eliminated

      by the provision of reasonable modifications and/or non-discriminatory services.

               227.   Thus, Defendant School Board has deprived D.P., E.S., W.B., and constituents

      of DRF and has placed them at significant risk of further deprivation of participation in or the

      benefits of services, programs, or activities of a public entity.

               228.   Defendant School Board has demonstrated deliberate indifference, in that it

      was aware of substantially likely harm to D.P., E.S., W.B., and constituents of DRF federally

      protected rights under Title II of the ADA and failed to act upon that likelihood.

               229.   As a result of Defendant School Board’s violations, D.P., E.S., W.B., and

      constituents of DRF have suffered and are at a significant risk of suffering irreparable harm,

      including substantial losses of educational opportunities, and they have no adequate remedy at

      law.

               230.   Due to Defendant School Board’s ongoing violations of Title II of the ADA,

      injunctive and declaratory relief are appropriate remedies.

                                                COUNT 2

             D.P., W.B., E.S., and Disability Rights Florida against Defendant School Board:
                        Violation of Section 504 of the Rehabilitation Act of 1973

               231.   Plaintiffs re-allege paragraphs 14-19, 22-139, and 155-230.

               232.   Defendant School Board has been and is a recipient of federal financial

      assistance sufficient to invoke the coverage of Section 504. Id. § 794(b)(3).

               233.   D.P., E.S., W.B., and constituents of DRF are, or are suspected of being,

      qualified individuals with disabilities within the meaning of Section 504 and are or may be

      otherwise qualified to participate in or receive benefits from Defendant School Board’s

      programs or activities. 29 U.S.C. § 794(a).

               234.   By reason of their disabilities, D.P., E.S., W.B., and constituents of DRF are

      subjected to discrimination by Defendant School Board, including through Defendant’s




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      refusal to reasonably modify its programs and services to avoid discrimination against D.P.,

      E.S., W.B., and constituents of DRF.

             235.    As set forth above, Defendant School Board’s actions and omissions violate

      Section 504 of the Rehabilitation Act of 1973.

             236.    Defendant School Board has demonstrated a deliberate indifference in that they

      were aware of substantially likely harm to D.P., E.S., W.B., and constituents of DRF federally

      protected rights under Section 504 and failed to act upon that likelihood.

             237.    As a result of Defendant School Board’s violations, D.P., E.S., W.B., and

      constituents of DRF have suffered and are at significant risk of suffering irreparable harm,

      including substantial losses of educational opportunities, and they have no adequate remedy at

      law.

             238.    Due to Defendant School Board’s ongoing violations of Section 504 and

      implementing regulations, injunctive and declaratory relief are appropriate remedies.

                                                COUNT 3

         Plaintiff M.S. against Defendant School Board: Violation of the Americans With
                                          Disabilities Act

             239.    Plaintiffs re-allege paragraphs 20-21, 31-46, 48-49, 52, 54-56, 140-156, 158,

      175, 179-181, 183, 187, 188, 197-199, 213-215, and 217-222.

             240.    Defendant School Board is a public entity subject to Title II of the ADA and is

      officially responsible for supervising the operations of a public entity subject to Title II of the

      ADA. 42 U.S.C. § 12131(1).

             241.    M.S. is, or is suspected of being, a qualified individual with a disability within

      the meaning of Title II of the ADA and meets the essential eligibility requirements for the

      receipt of services, programs, or activities of Defendant School Board. Id. § 12131(2).

      Through the acts and omissions set forth above, Defendant School Board violated Title II of

      the ADA and discriminated against Plaintiff M.S. by reason of her disability by:




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                     a.       Failing to reasonably modify the Defendant’s programs and services as

                              needed to avoid discrimination against M.S.; and

                     b.       Using methods of administration that have the effect of defeating or

                              substantially impairing the accomplishment of the objectives of the

                              Defendant School Board’s programs with respect to M.S.

              242.        M.S. did not pose a significant risk to the health or safety of others while being

      transported from her school to a receiving facility, or any risk posed by M.S. could have been

      or could be eliminated by the provision of reasonable modifications and/or non-discriminatory

      services.

              243.        Thus, Defendant School Board has deprived Plaintiff M.S. and has placed her

      at significant risk of further deprivation of participation in or the benefits of services,

      programs, or activities of a public entity.

              244.        Defendant School Board has demonstrated deliberate indifference, in that it

      was aware of substantially likely harm to Plaintiff M.S.’s federally protected rights under Title

      II of the ADA and failed to act upon that likelihood.

              245.        As a result of Defendant School Board’s violations, Plaintiff M.S. has suffered

      and is at a significant risk of suffering irreparable harm, including substantial losses of

      educational opportunities, and has no adequate remedy at law.

              246.        Due to Defendant School Board’s ongoing violations of Title II of the ADA,

      injunctive and declaratory relief are appropriate remedies.

                                                    COUNT 4

          Plaintiff M.S. against Defendant School Board: Violation of Section 504 of the
                                        Rehabilitation Act

              247.        Plaintiffs re-allege paragraphs 20-21, 31-46, 48-49, 52, 54-56, 140-156, 158,

      175, 179-181, 183, 187, 188, 197-199, 213-215, 217-222, and 239-246.

              248.        Defendant School Board has been and is a recipient of federal financial

      assistance sufficient to invoke the coverage of Section 504. Id. § 794(b)(3).




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              249.     Plaintiff M.S. is, or is suspected of being, a qualified individual with a

      disability within the meaning of Section 504 and is or may be otherwise qualified to

      participate in or receive benefits from Defendant School Board’s programs or activities. 29

      U.S.C. § 794(a).

              250.     By reason of her disabilities, Plaintiff M.S. was subjected to discrimination by

      Defendant School Board, including through Defendant’s refusal to reasonably modify its

      programs and services to avoid discrimination against M.S.

              251.     As set forth above, Defendant School Board’s actions and omissions violate

      Section 504 of the Rehabilitation Act of 1973.

              252.     Defendant School Board has demonstrated a deliberate indifference in that it

      was aware of substantially likely harm to Plaintiff M.S.’s federally protected rights under

      Section 504 and failed to act upon that likelihood.

              253.     As a result of Defendant School Board’s violations, Plaintiff M.S. has suffered

      and is at significant risk of suffering irreparable harm, including Plaintiff M.S.’s substantial

      losses of educational opportunities, and she has no adequate remedy at law.

              254.     Due to Defendant School Board’s ongoing violations of Section 504 and

      implementing regulations, injunctive and declaratory relief are appropriate remedies.

                                                 COUNT 5

    D.P., E.S., W.B., and Disability Rights Florida against Defendant School Board: Violation
                              of the Florida Educational Equity Act

              255.     Plaintiffs D.P., W.B., E.S., and Disability Rights Florida re-allege paragraphs

      14-19, 22-139, and 155-238.

              256.     The Florida Educational Equity Act (“FEEA”) prohibits discrimination “on the

      basis of race, ethnicity, national origin, gender, disability, religion, or marital status against a

      student or an employee in the state system of public K-20 education.” Fla. Stat. §

      1000.05(3)(d).




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               257.     By reason of their disabilities, D.P., E.S., W.B., and constituents of DRF are

      subjected to discrimination by Defendant School Board, which has inappropriately and

      unlawfully used the Baker Act against them.

               258.     By failing to establish appropriate safeguards to prevent the Baker Act from

      being used inappropriately against students with disabilities and by failing to ensure that

      students with disabilities, including D.P., E.S., and W.B., have access to reasonable

      accommodations including while initiation of an involuntary examination under the Baker Act

      is contemplated and during transport for an involuntary examination, Defendant School Board

      has acted with deliberate indifference, in violation of the FEEA.

               259.     As a result of Defendant School Board’s violations, D.P., E.S., W.B., and

      constituents of DRF have suffered and are at significant risk of suffering irreparable harm,

      including substantial losses of educational opportunities, and they have no adequate remedy at

      law.

               260.     Due to Defendant School Board’s ongoing violations of the FEEA, injunctive

      and declaratory relief are appropriate remedies.

                                                  COUNT 6

     M.S. against Defendant School Board: Violation of the Florida Educational Equity Act

             261.     Plaintiff M.S. re-alleges paragraphs 20-21, 31-46, 48-49, 52, 54-56, 140-156, 158,

   175, 179-181, 183, 187, 188, 197-199, 213-215, 217-222, and 239-254.

               262.     The Florida Educational Equity Act (“FEEA”) prohibits discrimination “on the

      basis of race, ethnicity, national origin, gender, disability, religion, or marital status against a

      student or an employee in the state system of public K-20 education.” Fla. Stat. §

      1000.05(3)(d).

               263.     By reason of her disability, Plaintiff M.S. was subjected to discrimination by

      Defendant School Board, which has inappropriately and unlawfully used excessive force

      against her during transportation for an involuntary examination under the Baker Act.




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             264.    By failing to establish appropriate safeguards to ensure that students with

      disabilities, including M.S., have access to reasonable accommodations during transportation

      for involuntary examination, Defendant School Board has acted with deliberate indifference,

      in violation of the FEEA.

             265.    As a result of Defendant School Board’s violations, Plaintiff has suffered and

      is at significant risk of suffering irreparable harm, including substantial losses of educational

      opportunities, and has no adequate remedy at law.

             266.    Due to Defendant School Board’s ongoing violations of the FEEA, injunctive

      and declaratory relief are appropriate remedies.

                                                COUNT 7

    P.S., J.S., and L.H. against Defendant School Board: §1983 Procedural Due Process Claim
       for Deprivation of Parental Right to Custody and Control Seeking Declaratory and
                                         Injunctive Relief

             267.    Plaintiffs re-allege the paragraphs 14-19, 31-139, and 155-222.

             268.    Parents have a fundamental right to the care, custody, and control of their
      children.

             269.    Parents cannot be deprived of this fundamental right without constitutionally

      sufficient due process under the Fourteenth Amendment.

             270.    Plaintiffs P.S., J.S., and L.H. (“Plaintiff Parents”) bring this claim against

      Defendant School Board because its employee and contractor school police officers took D.P.,

      E.S., and W.B. into their custody and transported them to a receiving facility, where they were

      denied contact with their parents, without notifying or seeking consent from their parents

      and/or over their parents’ objections.

             271.    No actual or perceived emergency existed that would justify Defendant School

      Board depriving Plaintiff Parents of their fundamental rights without any due process

      protections.




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              272.    The failure to provide any type of notice or consent requirement prior to

      removing D.P., E.S., and W.B. from their parents’ custody and control is constitutionally

      insufficient and violates Plaintiff Parents’ procedural due process rights.

              273.    These violations of Plaintiff Parents’ rights by police officers working in

      Defendant School Board’s schools were the result of longstanding SDPBC policies adopted

      by, ratified by, acquiesced to and endorsed by Defendant School Board. SDPBC’s Baker Act

      policies still provide that parents need not even be asked for their opinion, let alone consent,

      about whether their children should be sent for involuntary examination.

              274.    These violations were also the result of Defendant School Board’s failure to

      supervise and train its police employees and contractors to seek parental consent before

      initiating a Baker Act examination. Despite being aware that hundreds of children were being

      Baker Acted and that many of those Baker Acts could be prevented by contacting children’s

      parents, the Defendant School Board failed to train their officers to do so.

              275.    These violations interfered with the Plaintiff Parents’ relationship with their

      children at a time those children needed them most. This caused Plaintiff Parents and D.P.,

      E.S., and W.B. great distress. Without adequate relief Plaintiffs are at significant risk of

      suffering similar harms in the future.

              276.    Due to the Defendant School Board’s violations and ongoing violations of the

      Fourteenth Amendment, P.S., J.S., and L.H. are entitled to damages, and injunctive and

      declaratory relief.

                                                COUNT 8

     P.S., J.S., and L.H. against the Defendant School Board: § 1983 Procedural Due Process
     Claim for Control Over Medical Decision-Making Under the Fourteenth Amendments
                             Seeking Declaratory and Injunctive Relief

              277.    Plaintiffs re-allege paragraphs 14-19, 31-139, and 155-222.

              278.    Parents have a fundamental right to the care, custody, and control of their

      children.




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              279.    Parents cannot be deprived of this fundamental right without constitutionally

      sufficient due process under the Fourteenth Amendment.

              280.    The fundamental right of parents to the care, custody, and control of their

      children encompasses right to make medical decisions for their children.

              281.    Plaintiffs P.S., J.S., and L.H. (“Plaintiff Parents”) bring this claim against the

      Defendant School Board because its employees and contractors initiated involuntary

      examinations of D.P., E.S., and W.B. under the Baker Act without notifying or seeking

      consent from Plaintiff Parents, and/or over the Plaintiff Parents’ objections.

              282.    No actual or perceived true emergency existed that would justify Defendant

      School Board depriving Plaintiff Parents of their fundamental rights without any due process

      protections.

              283.    The failure to provide any type of notice or consent requirement prior to

      initiating an involuntary examination under the Baker Act on D.P., E.S., and W.B. is

      constitutionally insufficient and violates Plaintiff Parents’ procedural due process rights.

              284.    These violations of Plaintiff Parents’ rights by police officers working in

      SDPBC schools were the result of longstanding policies adopted by, ratified by, acquiesced to

      and endorsed by Defendant School Board. SDPBC Baker Act policies still provide that

      parents need not even be asked for their opinion, let alone consent, about whether their

      children should be sent for involuntary examination.

              285.    These violations were also the result of the Defendant School Board’s failure

      to supervise and train its police employees and contractors to seek parental consent before

      initiating a Baker Act examination. Despite being aware that hundreds of children were being

      seized for involuntary examination under the Baker Act and that many of those Baker Acts

      could be prevented by contacting children’s parents, Defendant School Board failed to train

      their officers to do so.

              286.    These violations interfered with Plaintiff Parents’ ability to make the best

      medical decisions for their children, harming the interests of both parents and children in



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      ensuring that children’s medical needs are met adequately. Without adequate relief Plaintiffs

      Parents are at significant risk of suffering similar harms in the future.

              287.    Due to Defendant School Board’s violations and ongoing violations of the

      Fourteenth Amendment, P.S., J.S., and L.H. are entitled to damages, and injunctive and

      declaratory relief.

                                                 COUNT 9

   D.P., E.S., W.B., and DRF against the Defendant School Board: § 1983 Claim for Violation
   of Due Process Right to be Free of Unreasonable Seizures under the Fourth and Fourteenth
                     Amendments Seeking Declaratory and Injunctive Relief

              288.    Plaintiffs re-allege paragraphs 14-19, 22-56, 58-139, and 155-222.

              289.    The Fourth Amendment prohibits unreasonable seizures in the context of

      involuntary psychiatric examinations. Khoury v. Miami-Dade Cnty. Sch. Bd., 4 F.4th 1118, 1126
      (11th Cir. 2021). It also applies to searches and seizures by school authorities. N.J. v. T.L.O., 469

      U.S. 325, 337 (1985).

              290.    Seizure for involuntary examination is legal only if there is probable cause to

      believe a person meets the criteria listed in Florida’s Baker Act. Khoury, 4 F.4th at 1126.

              291.    Under the Baker Act an officer may initiate an involuntary examination only if

      they have “reason to believe that the person has a mental illness and because of . . . her mental

      illness . . . [t]here is a substantial likelihood that without care or treatment the person will

      cause serious bodily harm . . . to herself or others in the near future, as evidenced by recent

      behavior.” Fla. Stat. § 394.463(1)(b)(2). “Vague notions about what a person might do—for

      example, a belief about some likelihood that without treatment a person might cause some

      type of harm at some point—does not meet this standard.” Khoury, 4 F.4th at 1126 (emphasis

      in original).

              292.    SDPBC employees regularly seize children for involuntary examination who

      plainly do not meet the criteria of the Baker Act. Specifically, school staff, typically police

      officers, seize children by sending them for involuntary examination when they do not have a

      reasonable belief that the children have a mental illness and/or when they do not have a



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      reasonable belief that the children are at imminent risk of causing serious bodily harm to

      themselves or others.

              293.    Under these circumstances, seizure of a child for involuntary examination is

      unreasonable and unconstitutional.

              294.    SDPBC does not accurately train its staff or contractors on the law concerning

      when and on who the Baker Act may legally be used. It does not conduct any after-the-fact

      review of its employees’ or contractors’ use of the Baker Act. And when abuses of the Baker

      Act are reported, it takes no corrective action.

              295.    As a result of these unreasonable seizures of children, D.P., E.S., W.B., and

      constituents of DRF have suffered and continue to suffer emotional distress, pain, and

      humiliation. They continue to experience fear, distrust, and anxiety, as well as other impacts

      on their education.

              296.    Due to the Defendant School Board’s ongoing violations of the Fourth

      Amendment, injunctive and declaratory relief are appropriate remedies.

                                                COUNT 10

    D.P. against the Defendant School Board: § 1983 Claim for Violation of Due Process Right
       to be Free of Unreasonable Seizures under the Fourth and Fourteenth Amendments

              297.    Plaintiffs re-allege paragraphs 14-15, 31-56, 58-87, and 155-222.

              298.    The Fourth Amendment prohibits unreasonable seizures in the context of

      involuntary psychiatric examinations. Khoury, 4 F.4th at 1126. It also applies to searches and
      seizures by school authorities. T.L.O., 469 U.S. at 337.

              299.    Seizure for involuntary examination is legal only if there is probable cause to

      believe a person meets the criteria listed in Florida’s Baker Act. Khoury, 4 F.4th at 1126.

              300.    Under the Baker Act an officer may initiate an involuntary examination only if

      they have “reason to believe that the person has a mental illness and because of . . . her mental

      illness . . . [t]here is a substantial likelihood that without care or treatment the person will

      cause serious bodily harm . . . to herself or others in the near future, as evidenced by recent




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      behavior.” Fla. Stat. § 394.463(1)(b)(2). “Vague notions about what a person might do—for

      example, a belief about some likelihood that without treatment a person might cause some

      type of harm at some point—does not meet this standard.” Khoury, 4 F.4th at 1126 (emphasis

      in original).

              301.    ASD is not a mental illness under the Baker Act, Fla. Stat. § 394.455(29), and

      hence it is not lawful to seize a person for involuntary examination for behavior that a police

      officer has reason to believe is due to ASD.

              302.    Officer Margolis’ seizure of D.P. was not justified at its inception because

      Officer Margolis did not reasonably believe that D.P.’s behavior posed an imminent risk of

      serious bodily harm to himself or others, which is required for a legal seizure under the Baker

      Act. Specifically, nine-year-old D.P.’s behavior allegedly consisted of throwing objects,

      including a stuffed animal, pushing furniture, and breaking items.

              303.    Even if Officer Margolis’ seizure of D.P. was justified at its inception, the

      seizure as actually conducted was excessively intrusive in light of D.P.’s age and his behavior.

      D.P. was handcuffed while awaiting transport and during the approximately 20-minute

      transport in a police car to the receiving facility.

              304.    Officer Margolis violated the Fourth Amendment prohibition on unreasonable

      seizures.

              305.    Defendant School Board is liable for Officer Margolis’ actions because he was

      placed at the school pursuant to a contract they approved, was required to abide by the

      policies they approved, and operated at the direction of SDPBC employees. It knew that

      Officer Margolis was inadequately trained and supervised and knew that, based on at least one

      earlier materially similar instance of unconstitutional conduct by officers working in SDPBC

      schools, additional training and supervision were necessary to prevent further violations, and

      it made a deliberate choice not to provide additional training or supervision to Officer

      Margolis.




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              306.    Specifically, Officer Margolis was not trained by SDPBC in the kind of

      behavior that could reasonably lead to an inference that a child is a danger to himself or others

      or that the Baker Act could not be legally used for behavior that is a manifestation of a child’s

      ASD. On information and belief, he did not receive such training from the Town of Lantana

      Police Department or SDPBC and the Defendant School Board knew or reasonably should

      have known this. His failure to obtain and follow the recommendations of mental health

      professionals about whether D.P. should be examined was consistent with SDPBC Policies

      adopted or ratified by Defendant School Board. Had Defendant School Board supervised

      school employees’ and contractors’ use of the Baker Act appropriately, it could have

      identified overuse of the Baker Act, including on children with ASD, and taken steps that

      would have prevented D.P.’s involuntary examination under the Baker Act.

              307.    As a result of Defendant School Board’s unreasonable seizure of him, D.P. has

      suffered and continues to suffer emotional distress, pain, and humiliation. D.P. underwent

      more than two years of therapy and continues to require additional counseling. D.P. also

      became more aggressive and became upset more easily after the event. D.P. continues to

      experience fear, distrust, and anxiety, as well as other impacts on his education.

              308.    Due to Defendant School Board’s violation of D.P.’s right to be free from

      unreasonable seizures, D.P. is entitled to damages.

                                                COUNT 11
    E.S. against the Defendant School Board: § 1983 Claim for Violation of Due Process Right
       to be Free of Unreasonable Seizures under the Fourth and Fourteenth Amendments

              309.    Plaintiffs re-allege paragraphs 16-17, 31-56, 88-116, and 155-222.

              310.    The Fourth Amendment prohibits unreasonable seizures in the context of

      involuntary psychiatric examinations. Khoury, 4 F.4th at 1126. It also applies to searches and
      seizures by school authorities. T.L.O., 469 U.S. at 337.




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              311.    Seizure for involuntary examination is legal only if there is probable cause to

      believe a person meets the criteria listed in Florida’s Baker Act. Khoury, 4 F.4th at 1126.

              312.    Under the Baker Act an officer may initiate an involuntary examination only if

      they have “reason to believe that the person has a mental illness and because of . . . her mental

      illness . . . [t]here is a substantial likelihood that without care or treatment the person will

      cause serious bodily harm . . . to herself or others in the near future, as evidenced by recent

      behavior.” Fla. Stat. § 394.463(1)(b)(2). “Vague notions about what a person might do—for

      example, a belief about some likelihood that without treatment a person might cause some

      type of harm at some point—does not meet this standard.” Khoury, 4 F.4th at 1126 (emphasis

      in original).

              313.    ASD is not a mental illness under the Baker Act, Fla. Stat. § 394.455(29), and

      hence it is not lawful to seize a person for involuntary examination for behavior that there is

      reason to believe is due to ASD.

              314.    Officer Cuellar knew that E.S.’s behavior was due to ASD, a developmental

      disability, and not due to mental illness as defined in the Baker Act. He did not reasonably

      believe that E.S.’s behavior was due to mental illness. As a result, seizure under the authority

      of the Baker Act was not legal and Officer Cuellar’s seizure of E.S. was not justified at its

      inception.

              315.    In addition, because Officer Cuellar did not reasonably believe that E.S.’s

      behavior posed an imminent risk of serious bodily harm to himself or others, seizure under the

      authority of the Baker Act was not legal and Officer Cuellar’s seizure of E.S. was not justified

      at its inception.

              316.    Even if Office Cuellar’s seizure of E.S. was justified at its inception, the

      seizure as actually conducted was not reasonably related to the objectives of the seizure and

      was excessively intrusive in light of E.S.’s age and his behavior. Nine-year-old E.S.’s

      behavior consisted of hitting an adult and a thick glass window. In response, in the process of




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      seizing E.S., Officer Cuellar slammed E.S., a nine-year-old boy, on a couch and on the floor,

      scuffing his knees, and he handcuffed him.

             317.    Officer Cuellar violated the Fourth Amendment prohibition on unreasonable

      seizures. The Defendant School Board is liable for Officer Cuellar’s actions because it knew

      that Officer Cuellar was inadequately trained and supervised and knew that, based on at least

      one earlier materially similar instance of unconstitutional conduct by SDPBC police officers,

      additional training and supervision was necessary to prevent further violations, and it made a

      deliberate choice not to provide additional training or supervision to Officer Cuellar.

             318.    Specifically, Officer Cuellar was not trained by SDPBC in the kind of behavior

      that could reasonably lead to an inference that a child is a danger to himself or others or that

      the Baker Act could not be legally used for behavior that is a manifestation of a child’s ASD.

      His failure to obtain and follow the recommendations of mental health professionals about

      whether E.S. should be examined was consistent with SDPBC Policies adopted or ratified by

      Defendant School Board. Had Defendant School Board supervised school staff’s use of the

      Baker Act appropriately, they could have identified overuse of the Baker Act, including on

      children with ASD, and taken steps that would have prevented E.S.’s involuntary examination

      under the Baker Act.

             319.    As a result of Defendant School Board’s unreasonable seizure of him, E.S. has

      suffered and continues to suffer emotional distress, pain, and humiliation. E.S. eventually had

      to leave public school entirely to feel safe. E.S. continues to experience fear, distrust, and

      anxiety, as well as other impacts on his education.

             320.    Due to Defendant School Board’s violation of E.S.’s right to be free from

      unreasonable seizures, E.S. is entitled to damages.

                                               COUNT 12

    W.B. against the Defendant School Board: § 1983 Claim for Violation of Due Process Right
      to be Free of Unreasonable Seizures under the Fourth and Fourteenth Amendments

             321.    Plaintiffs re-allege paragraphs 18-19, 31-56, 117-139, and 155-222.




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               322.   The Fourth Amendment prohibits unreasonable seizures in the context of

      involuntary psychiatric examinations. Khoury, 4 F.4th at 1126. It also applies to searches and
      seizures by school authorities. T.L.O., 469 U.S. at 337.

               323.   Seizure for involuntary examination is legal only if there is probable cause to

      believe a person meets the criteria listed in Florida’s Baker Act. Khoury, 4 F.4th at 1126.

               324.   Under the Baker Act an officer may initiate an involuntary examination only if

      they have “reason to believe that the person has a mental illness and because of . . . her mental

      illness . . . [t]here is a substantial likelihood that without care or treatment the person will

      cause serious bodily harm . . . to herself or others in the near future, as evidenced by recent

      behavior.” Fla. Stat. § 394.463(1)(b)(2). “Vague notions about what a person might do—for

      example, a belief about some likelihood that without treatment a person might cause some

      type of harm at some point—does not meet this standard.” Khoury, 4 F.4th at 1126 (emphasis

      in original).

               325.   Officer Brown’s seizure of W.B. was not justified at its inception because

      Officer Brown did not reasonably believe that W.B.’s behavior posed an imminent risk of

      serious bodily harm to herself or others, which is required for a legal seizure under the Baker

      Act. Specifically, ten-year-old W.B.’s behavior consisted of throwing chairs and pushing

      staff.

               326.   Even if Officer Brown’s seizure of W.B. was justified at its inception, the

      seizure as actually conducted was not reasonably related to the objectives of the seizure and

      was excessively intrusive in light of W.B.’s age and behavior. Officer Brown handcuffed

      W.B. for at least 40 minutes, both at the school and while he was transported to a receiving

      facility.

               327.   Officer Brown violated the Fourth Amendment prohibition on unreasonable

      seizures.

               328.   The Defendant School Board is liable for Officer Brown’s actions because it

      knew that Officer Brown was inadequately trained and supervised and knew that, based on at



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      least one earlier materially similar instance of unconstitutional conduct by SDPBC police

      officers, additional training and supervision were necessary to prevent further violations, and

      it made a deliberate choice not to provide additional training or supervision to Officer Brown.

             329.    Specifically, Officer Brown was not trained by SDPBC in the kind of behavior

      that could reasonably lead to an inference that a child is a danger to himself or others and he

      acted according to SDPBC Policies adopted or ratified by Defendant School Board. His

      failure to obtain and follow the recommendations of mental health professionals about

      whether W.B. should be examined was consistent with SDPBC Policies adopted or ratified by

      Defendant School Board. Had Defendant School Board supervised school staff’s use of the

      Baker Act appropriately, they could have identified overuse of the Baker Act and taken steps

      that would have prevented W.B.’s involuntary examination.

             330.    As a result of Defendant School Board’s unreasonable seizure of him, W.B.

      has suffered and continues to suffer emotional distress, pain, and humiliation. The stress of

      being involuntarily detained and held away from his family caused him emotional distress that

      lasted long after he was released. W.B. continues to experience fear, distrust, and anxiety, as

      well as other impacts on his education.

             331.    Due to Defendant School Board’s violation of W.B.’s right to be free from

      unreasonable seizures, W.B. is entitled to damages.

                                                COUNT 13

     D.P., E.S., W.B., M.S., and DRF against the Defendant School Board: § 1983 Claim for
     Excessive Force under the Fourth and Fourteenth Amendments Seeking Injunctive and
                                      Declaratory Relief

             332.    Plaintiffs re-allege paragraphs 14-49, 52, 55-56, 58-154156, 158, 175, 179-

      181, 183, 187, 188, 197-199, 213-215, and 217-222.

             333.    The Fourth Amendment prohibits the use of excessive force by police officers

      in conducting arrests and other seizures.




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              334.     To determine where force is excessive, courts examine (1) the need for the

      application of force, (2) the relationship between the need and amount of force used, and (3)

      the extent of the injury inflicted.

              335.     As a matter of policy, SDPBC police officers employ handcuffs and/or hobble

      restraints on every child transported to a receiving facility for involuntary examination under

      the Baker Act.

              336.     Because the District’s policy mandates handcuffing even when there is no need

      for any application of force, it violates the Fourth Amendment.

              337.     The unnecessary and excessive handcuffing of vulnerable children is traumatic,

      humiliating, and has caused and continues to cause long-lasting harm to D.P., E.S., W.B.,

      M.S., and constituents of Disability Rights Florida subjected to it.

              338.     Due to the Defendant School Board’s ongoing violations of the Fourth

      Amendment, injunctive relief and declaratory relief are appropriate remedies.

                                                COUNT 14

      D.P. against the Defendant School Board: § 1983 Claim for Excessive Force under the
                              Fourth and Fourteenth Amendments

              339.     Plaintiffs re-allege paragraphs 14-15, 31-49, 52, 54-56, 58-87, 156, 158, 175,

      179-181, 183, 187, 188, 197-199, 213-215, and 217-222.

              340.     The Fourth Amendment prohibits the use of excessive force by police officers

      in conducting arrests and other seizures.

              341.     To determine where force is excessive, courts examine (1) the need for the

      application of force, (2) the relationship between the need and amount of force used, and (3)

      the extent of the injury inflicted.

              342.     D.P. was handcuffed in the process of being seized. The handcuffs remained on

      nine-year-old D.P. prior to and during transportation to the receiving facility for more than 20

      minutes.




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             343.    The use of force was clearly excessive and unreasonable because D.P. did not

      pose an immediate safety threat and D.P. did not try or threaten to escape custody, or to harm

      himself, either at the school or during transport.

             344.    D.P. was psychologically injured by the use of handcuffs.

             345.    Defendant School Board’s employee officers and contractors, while acting

      under color of law, intentionally committed acts which violated D.P.’s right not to be

      subjected to excessive or unreasonable force, and this conduct caused injuries to D.P.

             346.    Defendant School Board’s employee officers and contractors subjected D.P. to

      excessive force.

             347.    Defendant School Board is liable for its employees’ and contractors’ use of

      excessive force because it knew that they were inadequately trained and supervised and knew

      that, based on at least one earlier materially similar instance of unconstitutional conduct by

      police officers working in SDPBC schools, additional training and supervision was necessary

      to prevent further violations, and it made a deliberate choice not to provide or require

      additional training or supervision to its employees.

             348.    Defendant School Board is also liable because its official policy or custom of

      requiring handcuffing during transportation to receiving facilities directly caused D.P.’s

      injuries. As a result of Defendant School Board’s use of excessive force against him, D.P. has

      suffered and continues to suffer emotional distress, pain, and humiliation. D.P. underwent

      more than two years of therapy and continues to require additional counseling. D.P. also

      became more aggressive and upset more easily after the event. D.P. continues to experience

      fear, distrust, and anxiety, as well as other impacts on his education.

             349.    Due to Defendant School Board’s violation of D.P.’s right to be free from

      excessive force, D.P. is entitled to damages.




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                                                COUNT 15

      E.S. against the Defendant School Board: § 1983 Claim for Excessive Force under the
                              Fourth and Fourteenth Amendments

                350.   Plaintiffs re-allege paragraphs 16-17, 31-49, 52, 54-56, 88-116, 156, 158, 175,

      179-181, 183, 187, 188, 197-199, 213-215, and 217-222.

                351.   The Fourth Amendment prohibits the use of excessive force by police officers

      in conducting arrests and other seizures.

                352.   To determine where force is excessive, courts examine (1) the need for the

      application of force, (2) the relationship between the need and amount of force used, and (3)

      the extent of the injury inflicted.

                353.   In the process of seizing E.S., Officer Cuellar slammed E.S., a nine-year-old

      boy, on a couch and on the floor, scuffing his knees, and then handcuffed him.

                354.   E.S. did not pose an immediate safety threat to Officer Cuellar, himself, or

      others.

                355.   The force used against E.S. was clearly excessive and unreasonable given his

      age, size, and behavior; the amount of force used was greatly disproportionate to the

      circumstances.

                356.   E.S. was physically injured due to the scuffing of his knees and
      psychologically injured by the use of excessive force.

                357.   Accordingly, Officer Cuellar subjected E.S. to excessive force.

                358.   In the process of seizing E.S., Officer Cuellar handcuffed him.

                359.   The use of force was clearly excessive and unreasonable because E.S. did not

      pose an immediate safety threat to Officer Cuellar, himself, or others and E.S. did not try or
      threaten to escape Officer Cuellar’s custody, or harm himself. After Officer Cuellar removed

      the handcuffs, E.S. was calm and compliant. Nonetheless, a second SDPBC officer, Sergeant

      Brown, arrived at the scene and handcuffed E.S. again to transport him to a receiving facility.




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      The handcuffs remained on while E.S. was transported in Sergeant Brown’s marked police

      car.

               360.   The use of force by Sergeant Brown was clearly excessive and unreasonable

      because E.S. did not pose an immediate safety threat to Sergeant Brown, himself, or others

      and E.S. did not try or threaten to escape Sergeant Brown’s custody, or harm himself.

               361.   Office Cuellar and Sergeant Brown, while acting under color of law,

      intentionally committed acts which violated E.S.’s right not to be subjected to excessive or

      unreasonable force, and this conduct caused injuries to E.S.

               362.   Accordingly, Officer Cuellar and Sergeant Brown subjected E.S. to excessive

      force.

               363.   Defendant School Board is liable for Officer Cuellar and Sergeant Brown’s use

      of excessive force because it knew that Officer Cuellar and Sergeant Brown were

      inadequately trained and supervised and knew that, based on at least one earlier materially

      similar instance of unconstitutional conduct by SDPBC police officers, additional training and

      supervision were necessary to prevent further violations, and it made a deliberate choice not to

      provide additional training or supervision to Officer Cuellar and Sergeant Brown.

               364.   Defendant School Board is also liable because its official policy or custom of

      requiring handcuffing during transportation to receiving facilities directly caused E.S.’s

      injuries.

               365.   As a result of Defendant School Board’s use of excessive force against him,

      E.S. has suffered and continues to suffer emotional distress, pain, and humiliation. E.S.

      continues to experience fear, distrust, and anxiety, as well as other impacts on his education.

               366.   Due to Defendant School Board’s violation of E.S.’s right to be free from

      excessive force, E.S. is entitled to damages.




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                                               COUNT 16

      W.B. against the Defendant School Board: § 1983 Claim for Excessive Force under the
                             Fourth and Fourteenth Amendments

              367.    Plaintiffs re-allege paragraphs 18-19, 31-49, 52, 54-56, 117-139, 156, 158,

      175, 179-181, 183, 187, 188, 197-199, 213-215, and 217-222.

              368.    The Fourth Amendment prohibits the use of excessive force by police officers

      in conducting arrests and other seizures.

              369.    To determine where force is excessive, courts examine (1) the need for the

      application of force, (2) the relationship between the need and amount of force used, and (3)

      the extent of the injury inflicted.

              370.    In the process of seizing W.B., Officer Brown handcuffed him at his school.

      The handcuffs remained on ten-year-old W.B. during transportation to the receiving facility, a

      more than 50-mile journey, for at least 40 minutes.

              371.    The use of force was excessive and unreasonable because W.B. did not pose an

      immediate safety threat to Officer Brown, himself, or others and W.B. did not try or threaten

      to escape Officer Brown’s custody, or harm himself, either at the school or during transport.

              372.    W.B. was psychologically injured by the use of handcuffs.

              373.    Office Brown, while acting under color of law, intentionally committed acts
      which violated W.B.’s right not to be subjected to excessive or unreasonable force, and this

      conduct caused injuries to W.B.

              374.    Accordingly, Officer Brown subjected W.B. to excessive force.

              375.    Defendant School Board is liable for Officer Brown’s use of excessive force

      because it knew that Officer Brown was inadequately trained and supervised and knew that,
      based on at least one earlier materially similar instance of unconstitutional conduct by SDPBC

      police officers, additional training and supervision were necessary to prevent further

      violations, and it made a deliberate choice not to provide additional training or supervision to

      Officer Brown.




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              376.    Defendant School Board is also liable because its official policy or custom of

      requiring handcuffing during transportation to receiving facilities directly caused W.B.’s

      injuries.

              377.    As a result of Defendant School Board’s use of excessive force against him,

      W.B. has suffered and continues to suffer emotional distress, pain, and humiliation. The stress

      of being involuntarily detained and held away from his family caused him emotional distress

      that lasted long after he was released. W.B. continues to experience fear, distrust, and anxiety,

      as well as other impacts on his education.

              378.    Due to Defendant School Board’s violation of W.B.’s right to be free from

      excessive force, W.B. is entitled to damages.

                                               COUNT 17

      M.S. against the Defendant School Board: § 1983 Claim for Excessive Force under the
                              Fourth and Fourteenth Amendments

              379.    Plaintiffs re-allege paragraphs 20-21, 31-49, 52, 54-56, 140-154, 156, 158,

      175, 179-181, 183, 187, 188, 197-199, 213-215, and 217-222.

              380.    The Fourth Amendment prohibits the use of excessive force by police officers

      in conducting arrests and other seizures.

              381.    To determine where force is excessive, courts examine (1) the need for the

      application of force, (2) the relationship between the need and amount of force used, and (3)

      the extent of the injury inflicted.

              382.    In the process of seizing eleven-year-old M.S., Officer Lauginiger handcuffed

      M.S. and kept the handcuffs on M.S. while he transported her to the receiving facility for at

      least ten minutes.

              383.    The use of force was excessive and unreasonable because M.S. did not pose an

      immediate safety threat to Officer Lauginiger, herself, or others and M.S. did not try or

      threaten to escape Officer Lauginiger’s custody, or harm herself, either at the school or during

      transport.




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              384.   M.S. was psychologically injured by the use of handcuffs.

              385.   Officer Lauginiger, while acting under color of law, intentionally committed

      acts which violated M.S.’s right not to be subjected to excessive or unreasonable force, and

      this conduct caused injuries to M.S.

              386.   Accordingly, Officer Lauginiger subjected M.S. to excessive force.

              387.   Defendant School Board is liable for Officer Lauginiger’s use of excessive

      force because it knew that Officer Lauginiger was inadequately trained and supervised and

      knew that, based on at least one earlier materially similar instance of unconstitutional conduct

      by SDPBC police officers, additional training and supervision were necessary to prevent

      further violations, and it made a deliberate choice not to provide additional training or

      supervision to Officer Lauginiger.

              388.   Defendant School Board is also liable because their official policy or custom of

      requiring handcuffing during transportation to receiving facilities directly caused M.S.’s

      injuries.

              389.   As a result of Defendant School Board’s use of excessive force against her,

      M.S. has suffered and continues to suffer emotional distress, pain, and humiliation, as well as

      impacts on her education. Since the incident she has become withdrawn and is more easily

      upset. She has told her family that she feels guilt and shame from being treated like a criminal

      in front of her classmates.

              390.   Due to Defendant School Board’s violation of M.S.’s right to be free from

      excessive force, M.S. is entitled to damages.

                                        PRAYER FOR RELIEF

              391.   WHEREFORE, Plaintiffs request that this Court enter judgment in their favor

      and grant the following relief:




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         a. Adjudge and declare that Defendant School Board’s actions, policies, practices, and

            procedures regarding use of the Baker Act violate the rights of Plaintiffs as set forth

            above in this Second Amended Complaint;

         b. Award actual damages to the individual Plaintiffs for harms suffered due to

            Defendant School Board’s illegal actions;

         c. Enjoin Defendant School Board, its successors in office, agents, employees and

            assigns, and all persons acting in concert to:

            1) Immediately discontinue all actions, policies, practices, and procedures that do

                not comply with the laws cited above in this complaint;

            2) Create and broadly disseminate to SDPBC teachers, administrators, other district

                and school-site staff (including SDPBC Police Department staff and contracted

                police officers), and families a School Board-approved written policy statement

                that (a) explains accurately and in detail the circumstances in which the Baker Act

                may and may not be legally used against students; (b) accurately states the

                probable cause standard for use of the Baker Act; (c) describes the ways in which

                inappropriate Baker Act use harms students; (d) directs that no student may be

                referred for involuntary examination under the Baker Act unless: absent a “true

                emergency,” parental consent for involuntary examination has been obtained or

                the child has been taken into custody pursuant to Fla. Stat. § 39.401; the student’s

                existing mental health provider and/or Individualized Education Program (“IEP”)

                team, if applicable, has been consulted; one or more mental health providers

                authorized to initiate involuntary examinations have been consulted and agree that

                no less restrictive alternative can sufficiently mitigate the risk to self or others and

                that the student meets the statutory criteria for involuntary examination under the

                Baker Act; (e) specifies that if an involuntary examination of a student is initiated

                under the Baker Act, the student shall not be handcuffed, placed in hobble

                restraints, or otherwise restrained absent a true and immediate physical threat to



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               self or to the person(s) transporting, or transported in a police vehicle; (f) prohibit

               telling parents that they must take their child for involuntary examination as a

               condition of attendance at school or as an alternative to a school employee

               initiating involuntary examination; and (g) require transportation by non-

               uniformed personnel in a vehicle other than a marked police car;

            3) Maintain written documentation of all referrals for involuntary examination under

               the Baker Act;

            4) Create a committee (including at least one member from District ESE, School

               Psychology Guidance, and one external expert approved by the Court), to review

               the file of, and consult with school staff regarding, any student who has been

               subjected to an involuntary examination under the Baker Act more than once

               during the prior or current school year, to identify any services and supports that

               should be provided to the child, and to prevent against repetitive, unnecessary,

               traumatic referrals for involuntary examination;

            5) Make the deidentified, aggregated data available to families and to the public on

               the SDPBC website and school-site websites regarding the number of involuntary

               examinations under the Baker Act initiated by school staff;

            6) Conduct after-the-fact reviews of all involuntary examinations under the Baker

               Act to determine whether the use of involuntary examination was necessary,

               appropriate, or could have been prevented, and include all involved school staff

               and the student’s parent or guardian in that process; and, either separately or as

               part of this process, convene a School Based Team (“SBT”) or Child Study Team

               (“CST”) meeting, whichever is appropriate, that includes a District ESE Behavior

               Resource Teacher, Behavior Health Professional, School Psychologist, and

               parents/guardians, and, for students with a dependency team, the dependency

               team and the Multi-Agency Network for students with Emotional/Behavioral




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               Disabilities, to review the situation and ensure a supported, successful return to

               school;

            7) Implement improved practices as recommended by experts approved by the

               parties or the Court and engage in ongoing monitoring and evaluation by experts,

               in the following areas:

               i)      SDPBC-wide timely access to mental and behavioral health services,

                      supports, programs, and activities for all students in the most integrated

                      setting appropriate, including positive behavioral supports, trauma-informed

                      de-escalation practices, trauma-informed crisis management systems,

                      universal mental health prevention and promotion interventions and programs,

                      multi-tiered services and supports, targeted interventions, and social-

                      emotional learning programs;

               ii)       SDPBC-wide availability of effective alternatives to the use of involuntary

                      examination under the Baker Act, including ensuring that school arrests are

                      not substituted for involuntary examination under the Baker Act;

               iii)      Use of and procedures for involuntary examination under the Baker Act

                      for students, particularly students with disabilities and students of color,

                      including in relation to disproportionate use of the Baker Act and the

                      elimination of traumatic aspects of transport for involuntary examination;

               iv)       Reasonable accommodations and/or modifications to policies and

                      procedures to avoid discrimination against students with disabilities and

                      students of color and to avoid unnecessary traumatization of students;

               v)        Policies, procedures, and training to ensure parents and guardians rights to

                      make medical decisions about mental health treatment for their children are

                      protected, and that parents/guardians are provided with a meaningful

                      opportunity to support de-escalation prior to referral for involuntary

                      examination under the Baker Act;



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                vi)       Training, accountability, and ongoing development for SDPBC personnel

                       (including school police and contracted police officers) regarding: the

                       statutory criteria for use of the Baker Act; developmentally appropriate,

                       trauma-informed crisis response practices; trauma-informed classroom

                       practices; how to appropriately identify and distinguish behaviors that may

                       indicate a serious, imminent risk of harm; understanding of the impact of

                       trauma (including family separation and interaction with police) on child and

                       adolescent development; and limiting the use of the Baker Act, including

                       through provision of appropriate school-based and community-based

                       interventions for students at risk of involuntary examination under the Baker

                       Act;

                vii)      SDPBC’s collection and regular review of data regarding use of the Baker

                       Act; and Policies, procedures, and training to ensure transport for Baker Act

                       examination occurs in the least restrictive means, including limits on use of

                       handcuffs or other forms of restraint;

                viii)     Effective use of mobile crisis response or CAPE teams in responding to

                       and assessing students’ mental health needs and making connections to

                       developmentally appropriate treatment in the least restrictive setting and

                       effective training for these teams; and

                ix)       A process for complaints from members of the public regarding use of

                       involuntary examination.

         d. Order any other actions appropriate to prevent further violations of Plaintiffs’

            constitutional and statutory rights;

         e. Appoint a monitor to track compliance with this order;

         f. Retain jurisdiction of this case until Defendant School Board has fully complied with

            the orders of this Court, and there is reasonable assurance that Defendant School

            Board will continue to comply in the future absent continuing jurisdiction;



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         g. Award Plaintiffs reasonable costs and expenses, including attorney’s fees, as

            authorized by law; and

         h. Grant such other and further relief as the Court deems just and proper.




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   Dated: March 13, 2023         Respectfully submitted,

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                                DEMAND FOR JURY TRIAL
          Plaintiffs hereby demand a jury trial as provided by Rule 38(a) of the Federal Rules of

   Civil Procedure.




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   Dated: March 13, 2023         Respectfully submitted,

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